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                             EXHIBIT A
          SETTLEMENT AGREEMENT
  With Exhibits A, B, C and D to Settlement Agreement
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                          CLASS ACTION SETTLEMENT AGREEMENT

       This Class Action Settlement Agreement (“Settlement Agreement”) is entered into
 between and among the Plaintiffs, all Settlement Class Members, and Defendants.

 1.         Article 1 – Recitals

      1.1      In 2017, Plaintiffs, individually and on behalf of a putative class of participants and
               beneficiaries of the Washington University Retirement Savings Plan (“Plan”), filed two
               complaints in the United States District Court for the Eastern District of Missouri.
               Plaintiffs brought suit under the Employment Retirement Income Security Act, 29
               U.S.C. §§ 1001-1461 (“ERISA”), alleging that Defendants breached their fiduciary
               duties of prudence and loyalty in managing and administering the Plan, thereby causing
               the Plan to incur excessive fees. Plaintiffs sought to recover all alleged losses to the
               Plan resulting from each breach of duty under ERISA § 409(a), 29 U.S.C. § 1109(a),
               as well as other forms of equitable and remedial relief under ERISA § 502(a)(2) and
               (3), 29 U.S.C. § 1132(a)(2)-(3), and costs and attorneys’ fees pursuant to ERISA
               § 502(g), 29 U.S.C. § 1132(g), and the common fund doctrine.

      1.2      Plaintiffs Latasha Davis and Jennifer Elliott filed the initial action in this matter on June
               8, 2017, in Case No. 4:17-cv-01641. (ECF No. 1.) Plaintiff Marla Aliece King-Sims
               filed a separate complaint on June 23, 2017, in Case No. 4:17-cv-01785, alleging
               substantively similar claims. The Court granted an unopposed motion to transfer and
               consolidate the matters into the first-filed case, No. 4:17-cv-01641 (ECF No. 15), after
               which Plaintiffs filed an Amended Complaint on August 21, 2017 (ECF No. 24).

      1.3      On October 5, 2017, Defendants moved to dismiss the Amended Complaint (ECF
               No. 34). Plaintiffs filed an opposition thereto (ECF No. 36), and Defendants replied
               (ECF No. 38). On September 28, 2018, the Court granted Defendants’ motion and
               dismissed Plaintiffs’ Amended Complaint with prejudice. (ECF Nos. 51-52.) On
               October 25, 2018, Plaintiffs appealed the Court’s dismissal to the United States Court
               of Appeals for the Eighth Circuit. (ECF No. 52.)

      1.4      On May 22, 2020, after full briefing and argument, the Eighth Circuit entered an Order
               affirming in part and reversing in part the judgment of this Court and remanding for
               further proceedings. Davis v. Wash. Univ. in St. Louis, 960 F.3d 478 (8th Cir. 2020).
               Specifically, the Eighth Circuit affirmed dismissal of certain claims, but reversed the
               dismissal of Plaintiffs’ allegations that Defendants breached their fiduciary duties by
               allowing the Plan to pay excessive administrative and investment fees. (Id. at 483-84.)

      1.5      On July 8, 2020, Plaintiffs filed an Amended Consolidated Class Action Complaint.
               (ECF No. 64.) Defendants answered this complaint on July 28, 2020, denying the
               allegations of fiduciary breach and any liability in this matter. (ECF No. 65.)

      1.6      On February 2, 2021, with leave of Court (ECF No. 82), Plaintiffs filed the operative
               Second Amended Consolidated Class Action Complaint (“Complaint”). (ECF No. 83.)
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           Defendants filed an Answer and Defenses to the Complaint on February 16, 2021.
           (ECF No. 86.) Defendants again denied the allegations of fiduciary breach and any
           liability in this matter, also asserting numerous defenses to the claims. (Id.)

    1.7    On March 15, 2021, Plaintiffs filed a motion for class certification. (ECF Nos. 92-93.)
           Defendants opposed on May 10, 2021 (ECF No. 104), and Plaintiffs filed a reply on
           June 9, 2021 (ECF Nos. 109-110). Plaintiffs’ motion for class certification remained
           pending at the time the Parties reached the Settlement documented herein.

    1.8    The Parties engaged in extensive merits and expert discovery through the close of
           discovery on December 17, 2021. (See ECF No. 119.) These efforts included, inter
           alia, issuing and responding to written discovery requests; ten fact depositions (seven
           by Plaintiffs; three by Defendants); the production of more than 115,000 pages of
           documents by Defendants and third parties, and Plaintiffs’ review and analysis of those
           materials; the exchange of three expert reports (two by Plaintiffs and one by
           Defendants); and depositions of each of the three aforementioned expert witnesses.

    1.9    On January 14, 2022, Defendants filed a motion for summary judgment and a motion
           to exclude plaintiffs’ liability expert. (ECF Nos. 126, 129.) The deadline for Plaintiffs
           to oppose Defendants’ motions had not yet occurred when the Parties conducted the
           January 26, 2022 mediation that resulted in the Settlement documented herein.

    1.10   The Settling Parties, through counsel, conducted extensive, arm’s length negotiations
           concerning a possible compromise and settlement of the Action. On January 26, 2022,
           the Parties engaged in a full-day mediation before a nationally-recognized mediator,
           Hunter Hughes, who has extensive experience handling ERISA fiduciary-breach
           lawsuits similar to this one. No settlement was reached on January 26, 2022, but
           discussions between the Parties and Mr. Hughes continued. On February 23, 2022, the
           Parties reached an agreement in principle to the proposed settlement (“Settlement”),
           the terms of which are now memorialized in this Settlement Agreement.

    1.11   Based on their investigation of the merits of this Action, the litigation of this Action,
           and their knowledge and experience pursuing such actions generally, Plaintiffs’
           counsel believe that the Settlement will provide substantial benefits to the Settlement
           Class. When the benefits conferred by the Settlement are weighed against the attendant
           risks of continuing the prosecution of the Action, Plaintiffs’ counsel believe that the
           Settlement represents a reasonable and fair resolution of the claims of the Settlement
           Class. In reaching such a conclusion, Plaintiffs’ counsel have considered, among other
           things, the risks of litigation (including the risks of establishing both liability and any
           loss to the Plan), the time necessary to achieve a final resolution through litigation and
           any appeals, the complexity of the claims set forth in the Complaint, the ability of
           Defendants to withstand judgment, the existence of insurance coverage, and the
           benefits accruing to the Class Members under the Settlement.

    1.12   Defendants and the Released Parties deny any and all wrongdoing or liability with
           respect to any allegations or claims in the Complaint, and expressly deny any and all
           claims that they breached any fiduciary duty or other provisions of ERISA in


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               connection with administering and operating the Plan. Rather, Defendants maintain
               that, at all relevant times, the Plan has been managed, operated, and administered
               reasonably and prudently, in the best interests of the Plan and its participants, and in
               compliance with ERISA and applicable regulations. Although Defendants continue to
               deny all liability with respect to the claims alleged in the Complaint, they have agreed
               to resolve conclusively this Action and the Released Claims on the terms and conditions
               set forth below, to avoid the substantial costs and burdens of continued litigation. This
               Settlement Agreement, and the discussions between the Parties preceding it, shall in no
               event constitute, be construed as, or be deemed evidence of, an admission or concession
               of fault or liability of any kind by Defendants and/or any of the Released Parties.

 2.         Article 2 – Definitions

            As used in this Settlement Agreement and the Exhibits hereto, unless otherwise defined,
            the following terms have the meanings specified below:

      2.1      “Action” or “Class Action” means Davis, et. al., v. Washington University in St. Louis,
               et. al., Case No. 4:17-cv-01641-RLW, in the United Stated District Court for the
               Eastern District of Missouri, as well as the related action that was consolidated with
               Davis, filed by Plaintiff King-Sims, Case No. 4:17-cv-01785, and further including all
               claims asserted in any iteration of Plaintiffs’ complaints and all other claims Plaintiffs
               could have brought against Defendants or any of the Released Parties in this matter.

      2.2      “Active Account” means an individual investment account in the Plan with a balance
               greater than $0 or that is otherwise able to receive a new contribution or allocation of
               Plan assets, determined as of the time that the Plan’s recordkeeper(s) provides the
               Settlement Administrator with the Plan account information as provided in Paragraph
               6.5.1 below.

      2.3      “Administrative Expenses” means expenses incurred in the administration of the
               Settlement Agreement, including (a) all fees, expenses, and costs associated with
               providing the Settlement Notice to the Settlement Class Members, including but not
               limited to the fees and expenses of the Plan’s recordkeeper(s) to identify the names and
               addresses of Settlement Class Members; (b) related tax expenses (including taxes and
               tax expenses as described in Article 5); (c) all expenses and costs associated with the
               distribution of funds under the Plan of Allocation, including but not limited to the fees
               and expenses of the Plan’s recordkeeper(s) associated with implementing the
               Settlement Agreement, facilitating the distribution of funds under the Plan of
               Allocation, and gathering the data necessary to prepare the Plan of Allocation; and
               (d) all fees and expenses of the Independent Fiduciary, Settlement Administrator, and
               Escrow Agent. Excluded from Administrative Expenses are Defendants’ internal
               expenses and the Settling Parties’ respective legal expenses. All Administrative
               Expenses shall be paid from the Gross Settlement Amount.

      2.4      “Alternate Payee” means a person other than a Settlement Class Member or Beneficiary
               in the Plan who is entitled to a benefit under the Plan as a result of a Qualified Domestic



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           Relations Order that was in effect during the Settlement Class Period (i.e., between
           June 8, 2011 and March 31, 2022).

    2.5    “Attorneys’ Fees and Expenses” means the amount awarded by the Court as
           compensation for the services provided by Class Counsel. The amount of attorneys’
           fees for Class Counsel shall be recovered from the Gross Settlement Amount.

    2.6    “Beneficiary” means a person who currently is entitled to receive a benefit under the
           Plan upon the death of a Plan participant, other than an Alternate Payee. A Beneficiary
           includes, but is not limited to, a spouse, surviving spouse, domestic partner, or child
           who currently is entitled to a benefit.

    2.7    “CAFA” means the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1711-1715.

    2.8    “CAFA Notice” means notice of this proposed Settlement to the appropriate federal
           and state officials pursuant CAFA, substantially in the form set forth in Exhibit A
           hereto.

    2.9    “Class Counsel” means Co-Lead Class Counsel (defined below), plus the firms of
           Edelson Lechtzin LLP, Carey Danis & Lowe, and the Edgar Law Firm LLC.

    2.10   “Co-Lead Class Counsel” means the firms of Berger Montague, PC, Chimicles
           Schwartz Kriner & Donaldson-Smith LLP, and Schneider Wallace Cottrell Konecky
           LLP.

    2.11   “Confidentiality Agreement” means the Stipulated Protective Order executed by the
           Settling Parties and approved by the Court on November 23, 2020 (ECF No. 75).

    2.12   “Court” means the United States District Court for the Eastern District of Missouri.

    2.13   “Current Participant” means a member of the Settlement Class who has an Active
           Account, as defined above.

    2.14   “Defendants” means Washington University in St. Louis, the Washington University
           in St. Louis Board of Trustees, the Washington University in St. Louis Retirement Plan
           Advisory Committee, the Washington University in St. Louis Plan Administration
           Committee, and the Washington University in St. Louis Executive Vice Chancellor and
           Chief Administrative Officer.

    2.15   “Defendants’ Counsel” means Morgan, Lewis & Bockius, LLP, and Husch Blackwell
           LLP.

    2.16   “Escrow Agent” means Huntington Bank or another entity agreed to by the Settling
           Parties.

    2.17   “Final” means, with respect to any judicial ruling, order, or judgment, that the period
           for any motions for reconsideration, motions for rehearing, appeals, petitions for


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           certiorari, or the like (“Review Proceeding”) has expired without the initiation of a
           Review Proceeding, or, if a Review Proceeding has been timely initiated, that it has
           been fully and finally resolved, either by court action or by voluntary action of any
           party, without any possibility of a reversal, vacatur, or modification of any judicial
           ruling, order, or judgment, including the exhaustion of all proceedings in any remand
           or subsequent appeal and remand. The Settling Parties agree that absent an appeal or
           other attempted review proceeding, the period after which the Final Approval Order
           and Judgment becomes Final is thirty-one (31) calendar days after its entry by the Court
           (“Settlement Effective Date”).

    2.18   “Final Fairness Hearing” means the hearing scheduled by the Court to consider (a) any
           objections from Settlement Class Members to the Settlement Agreement; (b) Class
           Counsel’s petition for Attorneys’ Fees and Expenses and Plaintiffs’ Compensation; and
           (c) whether to finally approve the Settlement under FED. R. CIV. P. 23.

    2.19   “Final Order and Judgment” or “Final Approval Order” means the entry of the order
           and final judgment approving the Settlement Agreement, implementing the terms of
           this Settlement Agreement, and dismissing the Class Action with prejudice, to be
           proposed by the Settling Parties for approval by the Court, in substantially the form
           attached as Exhibit C hereto.

    2.20   “Former Participant” is a member of the Settlement Class who does not have an Active
           Account, as defined above.

    2.21   “Gross Settlement Amount” means the sum of seven million, five hundred thousand
           dollars ($7,500,000) contributed to the Qualified Settlement Fund in accordance with
           Article 5. The Gross Settlement Amount shall be the full and sole monetary payment
           to the Settlement Class, the Plan, Plaintiffs, and Class Counsel made on behalf of
           Defendants in connection with the Settlement effectuated through this Settlement
           Agreement. Defendants and their insurers will make no additional payment in
           connection with the Settlement of the Class Action.

    2.22   “Independent Fiduciary” means an independent fiduciary who will be retained pursuant
           to Article 3 to serve as a fiduciary to the Plan for purposes of approving and authorizing
           the settlement of Released Claims on behalf of the Plan, and that has no relationship
           with or interest in any of the Settling Parties and is mutually agreed to by the Settling
           Parties.

    2.23   “Mediator” means Hunter Hughes, III, Esquire.

    2.24   “Net Settlement Amount” means the Gross Settlement Amount minus (a) all Attorneys’
           Fees and Expenses paid to Class Counsel as awarded by the Court; (b) all Plaintiffs’
           Compensation as ordered by the Court; and (c) all Administrative Expenses.

    2.25   “Objector” shall mean any Settlement Class Member who may appear at the Final
           Fairness Hearing and show cause why the proposed Settlement should or should not be



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           approved as fair, reasonable, and adequate, or why judgment should or should not be
           entered, or to comment on or oppose Class Counsel’s proposed award for Attorneys’
           Fees and Expenses, or to the proposed Plaintiffs’ Compensation.

    2.26   “Plaintiffs” means Latasha Davis, Jennifer Elliot, and Marla Aliece King-Sims.

    2.27   “Plaintiffs’ Compensation” means an amount to be determined by the Court for each
           Plaintiff, which shall be paid from the Gross Settlement Amount directly to each
           Plaintiff.

    2.28   “Plan” means the Washington University in St. Louis Retirement Savings Plan.

    2.29   “Plan of Allocation” means the methodology for allocating and distributing the Net
           Settlement Amount in accordance with Article 6.

    2.30   “Preliminary Approval Order” means the order proposed by the Settling Parties and
           approved by the Court in connection with the Motion for Preliminary Approval to be
           filed by Plaintiffs through Class Counsel, as described in Paragraph 3.2 and in
           substantially the form attached hereto as Exhibit B.

    2.31   “Qualified Settlement Fund” or “Settlement Fund” means the interest-bearing
           settlement fund account to be established and maintained by the Escrow Agent in
           accordance with Article 5 herein and referred to as the Qualified Settlement Fund
           (within the meaning of Treas. Reg. § 1.468B-1).

    2.32   “Released Parties” means (a) Defendants and any of Defendants’ affiliates, employees,
           benefit plan fiduciaries, administrators, service providers, investment advisors, and
           their respective affiliates or employees; (b) Defendants’ insurers, co-insurers, and re-
           insurers; (c) Defendants’ past, present, and future affiliates, subsidiaries, divisions,
           joint ventures, predecessors, successors, successors-in-interest, and assigns; (d) for
           each of (a) through (c), their past, present, and future agents, officers, employees,
           boards of trustees, members of their boards of trustees, independent contractors,
           representatives, attorneys, associates, employee benefit plan fiduciaries (with the
           exception of the Independent Fiduciary), employee benefit plan administrators, service
           providers to the Plan (except as stated in paragraph 2.34.6) (including their owners and
           employees), consultants, subcontractors, and all persons acting under, by, through, or
           in concert with any of them; and (f) the Plan and the Plan’s fiduciaries, administrators,
           recordkeepers, service providers, consultants, and parties-in-interest.

    2.33   “Released Claims” means any and all actual or potential claims, actions, demands,
           rights, obligations, liabilities, damages, attorneys’ fees, expenses, costs, and causes of
           action, whether arising under federal, state or local law, whether by statute, contract or
           equity, whether brought in an individual or representative capacity, whether known or
           unknown, suspected or unsuspected, foreseen or unforeseen, arising from conduct by
           the Released Parties with respect to the Plan occurring during the Class Period:




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           2.33.1 That were asserted in the Class Action, or that arise out of, relate to, or are based
                  on any of the allegations, acts, omissions, facts, matters, transactions, or
                  occurrences that were alleged, asserted, or set forth in any iteration of the
                  Plaintiffs’ complaints in the Class Action; or

           2.33.2 That arise out of, relate in any way to, are based on, or have any connection
                  with the Plan’s management or administration, including but not limited to:
                  (a) the selection, oversight, retention, monitoring, compensation, fees, or
                  performance of the Plan’s investment options or service providers or advisors;
                  (b) fees, costs, or expenses charged to, paid, or reimbursed by the Plan or any
                  Settlement Class Member; (c) Released Parties’ disclosures or failures to
                  disclose information regarding the Plan’s investment options or service
                  providers; (d) the investment options offered to Plan participants; (e) the
                  compensation paid by the Plan to the Plan’s service providers; (f) the selection
                  of service providers or advisors to the Plan; (g) the services provided to the Plan
                  or costs of those services; (h) the payment of compensation based on a
                  percentage of total assets; (i) the Plan’s investment structure(s); or (j) any
                  alleged breach by the Released Parties of the duty of loyalty, care, prudence,
                  diversification, or any other fiduciary duties or prohibited transactions; or

           2.33.3 That would be barred by res judicata based on entry of the Final Order; or

           2.33.4 That relate to the direction to calculate, the calculation of, and/or the method or
                  manner of allocation of the Qualified Settlement Fund to the Plan or any
                  member of the Settlement Class in accordance with the Plan of Allocation; or

           2.33.5 That relate to the approval by the Independent Fiduciary of the Settlement
                  Agreement, unless brought against the Independent Fiduciary alone.

           2.33.6 Without in any way limiting the foregoing release, and solely for the avoidance
                  of doubt, it is the intent of the parties that the Released Claims include all breach
                  of fiduciary duty and prohibited transaction claims against the University
                  relating to TIAA’s participant loan program, but it is not the intent of the parties
                  to release the claims alleged by the Plaintiffs against TIAA in Haley v. Teachers
                  Insurance and Annuity Assoc., 1:17-cv-00855-JPO (S.D.N.Y.) in connection
                  with TIAA’s loan program with respect to any ERISA retirement plan.

    2.34   “Settlement” or “Settlement Agreement” means the compromise and settlement
           embodied in this agreement and its exhibits.

    2.35   “Settlement Administrator” means an independent contractor to be retained by Class
           Counsel and approved by the Court to administer the Settlement and Plan of Allocation.

    2.36   “Settlement Agreement Execution Date” means that date on which the final signature
           is affixed to this Settlement Agreement.




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    2.37   “Settlement Class” means a non-opt-out settlement class certified under Rule 23(b)(1)
           of the Federal Rules of Civil Procedure, consisting of all persons who participated in
           the Plan at any time during the Settlement Class Period, including any Beneficiary of a
           deceased person who participated in the Plan at any time during the Settlement Class
           Period, and any Alternate Payee of a person subject to a Qualified Domestic Relations
           Order that was in effect before the end of the Settlement Class Period and who
           participated in the Plan at any time during the Settlement Class Period. Excluded from
           the Settlement Class are: Monica Allen, Donna Bequette, Lisa Braun, Robert Buer,
           Trey Byrne, Legail Chandler, Mary Corcoran, Phil Dybvig, Ronald Faulbaum, Barbara
           Feiner, Lorraine Goffe-Rush, Linda Hack, Margo Jarrell, Amy Kweskin, Ann Prenatt,
           Jennifer Schaefer, Michael Stohler, Mary Stull, Kim Walker, Henry Webber, Peter
           Wiedenbeck, Lisa Wood, and Gary Yuhas.

    2.38   “Settlement Class Members” means all individuals in the Settlement Class, including
           the Plaintiffs. Settlement Class Members shall not be permitted to exclude themselves
           from the Settlement Class.

    2.39   “Settlement Class Period” means the period from June 8, 2011, through March 31,
           2022.

    2.40   “Settlement Effective Date” means that date on which the Final Approval Order
           becomes Final, provided that by such date the Settlement has not been terminated in
           accordance with Article 11.

    2.41   “Settlement Notice” means the Notice of the Class Action Settlement and the Final
           Fairness Hearing to be sent to Settlement Class Members identified by the Settlement
           Administrator after the Court’s issuance of the Preliminary Approval Order, in
           substantially the form attached hereto as Exhibit D. The Settlement Notice also shall
           inform Settlement Class Members of a Final Fairness Hearing to be held before the
           Court, on a date to be determined by the Court, at which any Settlement Class Member
           satisfying the conditions set forth in the Preliminary Approval Order and the Settlement
           Notice may be heard regarding (a) the terms of the Settlement Agreement; (b) the
           petition of Class Counsel for award of Attorneys’ Fees and Expenses; and (c) the
           Plaintiffs’ Compensation.

    2.42   “Settling Parties” or “Parties” means the Defendants and the Plaintiffs, individually
           and on behalf of the Plan and each of the Settlement Class Members.

    2.43   “Settlement Payment” means that portion of the Net Settlement Amount that is
           distributed to each Current Participant or Former Participant, as calculated by the
           Settlement Administrator pursuant to the Plan of Allocation.

    2.44   “Settlement Period” means a time period beginning on the Settlement Effective Date
           and continuing until three years thereafter.




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      2.45     “Settlement Website” means the internet website established by the Settlement
               Administrator.

 3.         Article 3 – Review and Approval by Independent Fiduciary, Preliminary Settlement
            Approval, and Notice to the Class

      3.1      The Independent Fiduciary, agreed to by Class Counsel and Defendants, and retained
               by Defendants on behalf of the Plan, shall have the following responsibilities, including
               to review and consider the Settlement and determine whether to approve and authorize
               the settlement of Released Claims on behalf of the Plan.

               3.1.1   The Independent Fiduciary shall comply with all relevant conditions set forth
                       in Prohibited Transaction Class Exemption 2003-39, “Release of Claims and
                       Extensions of Credit in Connection with Litigation,” issued December 31,
                       2003, by the United States Department of Labor, 68 Fed. Reg. 75,632, as
                       amended (“PTE 2003-39”), in making its determination.

               3.1.2   The Independent Fiduciary shall notify Defendants directly of its determination,
                       in writing (with copies to Class Counsel and Defendants’ Counsel), which
                       notification shall be delivered no later than forty-five (45) calendar days before
                       the Final Fairness Hearing.

               3.1.3   All fees and expenses associated with the Independent Fiduciary’s
                       determination and performance of its other obligations in connection with the
                       Settlement will constitute Administrative Expenses to be deducted from the
                       Gross Settlement Amount.

               3.1.4   Defendants, Defendants’ Counsel, and Class Counsel shall respond to
                       reasonable requests by the Independent Fiduciary for information so that the
                       Independent Fiduciary can review and evaluate the Settlement Agreement.

               3.1.5   If Defendants conclude that the report of the Independent Fiduciary does not
                       comply with PTE 2003-39 or is otherwise deficient, Defendants shall so inform
                       the Independent Fiduciary within ten (10) calendar days of receipt of the
                       determination, copying Class Counsel.

      3.2      By no later than April 15, 2022, or a subsequent date if ordered by the Court, Plaintiffs
               shall file a Motion for Preliminary Approval with the Court, seeking (a) entry of a
               Preliminary Approval Order substantially in the form attached hereto as Exhibit B, and
               (b) approval of the Settlement Notice, substantially in the form attached hereto as
               Exhibit D. Defendants agree not to oppose the Motion for Preliminary Approval,
               provided it is consistent with the terms and conditions of the Settlement Agreement.

      3.3      Subject to approval of the Settlement by the Court, Class Counsel shall retain, at their
               discretion, and subject to Defendants’ reasonable approval, a Settlement Administrator




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           to administer the Settlement Notice to Settlement Class Members and the Plan of
           Allocation.

           3.3.1   The Settlement Administrator will supervise and administer the Settlement
                   Notice procedures, establish and operate a Settlement Website and a toll-free
                   number, calculate allocations among Current and Former Participants,
                   distribute Settlement Payments according to the processes and criteria set forth
                   in the Plan of Allocation, and perform any other duties of the Settlement
                   Administrator that are reasonably necessary or provided for in the Settlement
                   Agreement.

           3.3.2   All fees and expenses of the Settlement Administrator incurred in the
                   administration of the Settlement Agreement, including the Settlement Notice
                   and Plan of Allocation, shall be paid solely from the Gross Settlement Amount.

           3.3.3   The Settlement Administrator shall have final authority to determine the Net
                   Settlement Amount to be allocated to each Settlement Class Member in
                   accordance with the Plan of Allocation.

     3.4   Within ten (10) business days after entry of the Preliminary Approval Order,
           Defendants shall cause the Plan’s recordkeeper(s) to provide the Settlement
           Administrator, in Excel or CSV format, with the names, last known mailing and email
           addresses, Social Security numbers, and individual Plan identification numbers (as
           applicable), of all Settlement Class Members.

     3.5   Defendants and Defendants’ Counsel shall use reasonable efforts to respond timely to
           written requests, including by e-mail, from the Settlement Administrator for readily
           accessible data that are reasonably necessary to determine the feasibility of
           administering the Plan of Allocation or to implement the Plan of Allocation. The actual
           and reasonable expenses of any third party, including the Plan’s recordkeeper(s), that
           are necessary to perform such work shall be Administrative Expenses to be paid solely
           from the Gross Settlement Amount.

           3.5.1   The Settlement Administrator shall be bound by the Confidentiality Agreement
                   and any further non-disclosure or security protocol required by the Settling
                   Parties.

           3.5.2   The Settlement Administrator shall use the data provided by Defendants and
                   the Plan’s recordkeeper(s) solely for the purpose of meeting its obligations as
                   Settlement Administrator, and for no other purpose.

           3.5.3   At the request of the Settling Parties, the Settlement Administrator shall provide
                   a written protocol concerning how the Settlement Administrator will maintain
                   and store information provided to it in order to ensure that reasonable and
                   necessary precautions are taken to safeguard the privacy and security of such
                   information.



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     3.6   By the date and in the manner set by the Court in the Preliminary Approval Order, or
           at least fifteen (15) calendar days after receiving the information from the Plan’s
           recordkeeper(s) as identified in paragraph 3.4, the Settlement Administrator shall:

           3.6.1   Establish a toll-free hotline and Settlement Website, on which the Settlement
                   Administrator will post the following documents, or links to such documents,
                   as they become available: (a) the operative Complaint; (b) the Settlement
                   Agreement and its Exhibits; (c) the Settlement Notice; (d) the Former
                   Participant Claim Form; (e) Class Counsel’s motion for Attorneys’ Fees and
                   Expenses and Plaintiffs’ Compensation; (f) any Court orders related to the
                   Settlement; (g) any amendments or revisions to these documents; and (h) any
                   other documents or information upon which the Settling Parties mutually agree
                   in writing.

           3.6.2   Cause to be sent to each Settlement Class Member identified by the Settlement
                   Administrator the Settlement Notice in the form and manner to be approved by
                   the Court, which shall be in substantially the form attached hereto as Exhibit
                   D, or a form subsequently agreed upon by the Parties and approved by the
                   Court. The Settlement Notice shall be sent to the last known email address or,
                   if no known email address (or where a known email address is determined to
                   be invalid), then within a reasonable amount of time mailed by first-class mail
                   to the last known mailing address, of each Settlement Class Member provided
                   by the Plan’s recordkeeper(s) (or its designee), unless an updated address is
                   obtained by the Settlement Administrator through its efforts to verify the last
                   known addresses provided by the Plan’s recordkeeper (or its designee). The
                   Settlement Administrator shall use commercially reasonable efforts to locate
                   any Settlement Class Member whose Settlement Notice is returned and re-send
                   such documents one additional time.

           3.6.3   The Settlement Administrator and/or Class Counsel also shall post a copy of
                   the Settlement Notice on the Settlement Website. In addition, if requested by a
                   Settlement Class Member, the Settlement Administrator shall provide by
                   electronic or other means a copy of the Settlement Notice to such Settlement
                   Class Member.

     3.7   Pursuant to CAFA, Defendants shall work with the Settlement Administrator to cause
           to be prepared and provided the CAFA Notices, as specified by 28 U.S.C. § 1715,
           within ten (10) calendar days after the filing of the Motion for Entry of the Preliminary
           Approval Order.

     3.8   Plaintiffs shall request that a Final Fairness Hearing be held at least one hundred ten
           (110) calendar days from the date of the entry of the Preliminary Approval Order for
           the Court to consider whether (i) the Court should finally approve the Settlement as
           fair, reasonable, and adequate; (ii) the Court should enter the Final Order and Judgment;
           and (iii) the Court should approve the application for Attorneys’ Fees and Expenses,
           Plaintiffs’ Compensation, and Administrative Expenses.



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      3.9      Any objections to any aspect of the Settlement and/or Settlement Agreement shall be
               heard, and papers submitted in support of said objections shall be considered, by the
               Court at the Final Fairness Hearing if they have been filed validly with the Clerk of the
               Court and copies provided to Class Counsel and Defendants’ Counsel.

               3.9.1   To be filed validly, any Objector (or, if represented by counsel, his/her/its
                       counsel) must file with the Court and serve on the Settling Parties’ counsel a
                       statement of his/her/its objection(s) at least twenty (20) days prior to the Final
                       Fairness Hearing. Such statement shall specify the reason(s) for each such
                       objection made, including any legal support or evidence that such Objector
                       wishes to bring to the Court’s attention or introduce in support of such
                       objection. In addition, the Objector must include his/her/its name, address, and
                       telephone number. Any objection must be signed by the Objector or counsel
                       for the Objector.

               3.9.2   Any Objector wishing to speak at the Final Fairness Hearing also shall file and
                       serve a “Notice of Intention to Appear” within the time limitation set forth
                       above. Any Objector who does not timely file an objection and a Notice of
                       Intent to Appear shall not be permitted to appear at the Final Fairness Hearing,
                       except for good cause shown. The Settling Parties’ counsel shall promptly
                       furnish each other with copies of any and all objections that come into their
                       possession.

               3.9.3   A Settling Party may, but is not required to, serve discovery requests, including
                       requests for documents and notices of deposition not to exceed two (2) hours in
                       length, on any Objector within five (5) calendar days of receipt of the objection.
                       Any responses to such discovery or depositions must be completed within five
                       (5) calendar days of the discovery request being served on the Objector.

               3.9.4   The Settling Parties may respond to any objection filed by an Objector,
                       provided such response is filed at least five (5) calendar days prior to the Final
                       Fairness Hearing.

               3.9.5   Any Settlement Class Member or other person who does not timely file and
                       serve a written objection complying with the terms of this Paragraph shall be
                       deemed to have waived, and shall be foreclosed from raising, any objection to
                       the Settlement, and any untimely objection shall be barred.

 4.         Article 4 – Final Settlement Approval

      4.1      No later than thirty (30) days before the Final Fairness Hearing, Class Counsel shall
               move the Court to enter an Order and Final Judgment substantially in the form attached
               hereto as Exhibit C (the “Final Approval Order”), which shall seek approval by the
               Court of the terms of this Settlement Agreement and entry of the Final Order and
               Judgment in accordance with this Settlement Agreement. The Final Order and
               Judgment as proposed by the Settling Parties shall provide for the following, among


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           other things, as is necessary to carry out the Settlement consistent with applicable law
           and governing Plan documents:

           4.1.1   Approval of the Settlement and the waiver and release of the Released Claims
                   covered by this Settlement Agreement, adjudging the terms thereof to be fair,
                   reasonable, adequate, and in the best interests of the Plan and the Settlement
                   Class, and directing the Settling Parties to take the necessary steps to effectuate
                   the terms and conditions of the Settlement Agreement;

           4.1.2   A determination under Rule 23(c)(2) of the Federal Rule of Civil Procedure that
                   the Settlement Notice constitutes the best notice practicable under the
                   circumstances and that due and sufficient notice of the Final Fairness Hearing
                   and the rights of all Settlement Class Members was provided;

           4.1.3   Approval of the Plan of Allocation consistent with this Settlement Agreement;

           4.1.4   A determination of the Attorneys’ Fees and Expenses to be awarded to Class
                   Counsel out of the Gross Settlement Amount, in response to the request set forth
                   in Article 7 below;

           4.1.5   A determination of the Plaintiffs’ Compensation to be awarded to the Plaintiffs
                   for their participation in this Action, in response to the request set forth in
                   Article 7 below;

           4.1.6   Dismissal of the Class Action with prejudice as to Defendants and operating to
                   extinguish, discharge, and release any and all Released Claims against the
                   Released Parties, whether asserted by Plaintiffs on their own behalf or on behalf
                   of the Settlement Class Members, or on behalf of the Plan, without costs to any
                   of the Settling Parties except as provided herein;

           4.1.7   That the Plan and each Settlement Class Member (and their respective heirs,
                   beneficiaries, executors, administrators, estates, past and present partners,
                   officers, directors, agents, attorneys, predecessors, successors, and assigns)
                   shall be (a) conclusively deemed to have, and by operation of the Final Order
                   and Judgment shall have, fully, finally, and forever settled, released,
                   relinquished, waived, and discharged the Released Parties from all Released
                   Claims; and (b) barred and enjoined from suing the Released Parties in any
                   action or proceeding alleging any of the Released Claims. The provisions (a)
                   and (b) shall apply even if any Settlement Class Member may thereafter
                   discover facts in addition to or different from those that the Settlement Class
                   Members or Class Counsel now know or believe to be true with respect to the
                   Class Action and the Released Claims, whether or not such Settlement Class
                   Members receive a monetary benefit from the Settlement, whether or not such
                   Settlement Class Members have filed an objection to the Settlement or to any
                   application by Class Counsel for an award of Attorneys’ Fees and Expenses,




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                       and whether or not the objections or claims for distribution of such Settlement
                       Class Members have been approved or allowed;

               4.1.8   That each Settlement Class Member shall release the Released Parties,
                       Defendants’ Counsel, and Class Counsel for any claims, liabilities, and
                       attorneys’ fees and expenses arising from the allocation of the Gross Settlement
                       Amount or Net Settlement Amount and for all tax liability and associated
                       penalties and interest as well as related attorneys’ fees and expenses;

               4.1.9   That all applicable CAFA requirements have been satisfied;

               4.1.10 That the Settlement Administrator shall have final authority to determine the
                      share of the Net Settlement Amount to be allocated to each Settlement Class
                      Member in accordance with the Plan of Allocation approved by the Court;

               4.1.11 That, with respect to payments or distributions to Former Participants, all
                      questions not resolved by the Settlement Agreement shall be resolved by the
                      Settlement Administrator in its sole and exclusive discretion;

               4.1.12 That, with respect to any matters that arise concerning the implementation of
                      distributions to Current Participants (after allocation decisions have been made
                      by the Settlement Administrator in its sole discretion), all questions not resolved
                      by the Settlement Agreement shall be resolved by the administrator or other
                      fiduciaries of the Plan, in accordance with applicable law and the governing
                      terms of the Plan; and

               4.1.13 That within seven (7) calendar days after the issuance of all settlement
                      payments to Settlement Class Members as provided by the Plan of Allocation
                      approved by the Court, the Settlement Administrator shall prepare and provide
                      to Class Counsel and Defendants’ Counsel a list of each person who received a
                      settlement payment or contribution from the Qualified Settlement Fund and the
                      amount of such payment or contribution.

      4.2      The Final Order and Judgment entered by the Court approving the Settlement
               Agreement shall provide that upon its entry all Settling Parties, the Settlement Class,
               and the Plan shall be bound by the Settlement Agreement and by the Final Order and
               Judgment. The Court shall retain jurisdiction solely to enforce the Settlement
               Agreement, but such retention of jurisdiction shall not affect the finality of the Final
               Order and Judgment.

 5.         Article 5 – Establishment of a Qualified Settlement Fund

      5.1      No later than five (5) business days after the entry of the Preliminary Approval Order,
               the Escrow Agent shall establish an escrow account. The Settling Parties agree that the
               escrow account is intended to be, and will be, an interest-bearing Qualified Settlement
               Fund within the meaning of Treas. Reg. § 1.468B-1. In addition, the Escrow Agent



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           timely shall make such elections as necessary or advisable to carry out the provisions
           of this Paragraph 5.1, including the “relation-back election” (as defined in Treas. Reg.
           § 1.468B-1) back to the earliest permitted date. Such elections shall be made in
           compliance with the procedures and requirements contained in such regulations. It
           shall be the responsibility of the Escrow Agent to prepare and deliver, in a timely and
           proper manner, the necessary documentation for signature by all necessary parties, and
           thereafter to cause the appropriate filing to occur.

     5.2   For the purposes of § 468B of the Internal Revenue Code of 1986, as amended, and the
           regulations promulgated thereunder, the Settlement Administrator shall be the Escrow
           Agent. The Escrow Agent, or the Settlement Administrator on its behalf, shall timely
           and properly cause to be filed all informational and other tax returns necessary or
           advisable with respect to the Gross Settlement Amount (including without limitation
           applying for a Taxpayer Identification Number for the Fund and filing the returns
           described in Treas. Reg. § 1.468B-2(k)). Such returns as well as the election described
           in Paragraph 5.1 shall be consistent with this Article 5 and, in all events, shall reflect
           that all taxes (as defined in Paragraph 5.3 below) (including any estimated taxes,
           interest, or penalties) on the income earned by the Gross Settlement Amount shall be
           deducted and paid from the Gross Settlement Amount as provided in Paragraph 5.3
           hereof.

     5.3   Taxes and expenses of the Escrow Agent are Administrative Expenses and are to be
           deducted and paid from the Gross Settlement Amount, including but not limited to:
           (a) all taxes (including any estimated taxes, interest, or penalties) arising with respect
           to the income earned by the Gross Settlement Amount, including any taxes or tax
           detriments that may be imposed upon Defendants or Defendants’ Counsel with respect
           to any income earned by the Gross Settlement Amount for any period during which the
           Gross Settlement Amount does not qualify as a “qualified settlement fund” for federal
           or state income tax purposes; and (b) all tax expenses and costs incurred in connection
           with the operation and implementation of this Article 5 (including, without limitation,
           expenses of tax attorneys and/or accountants and mailing and distribution costs and
           expenses relating to filing (or failing to file) the returns described in this Article 5).
           Such taxes and tax expenses shall be Administrative Expenses and shall be paid timely
           by the Escrow Agent out of the Gross Settlement Amount without prior order from the
           Court. The Escrow Agent shall be obligated (notwithstanding anything herein to the
           contrary) to withhold from distribution to any Settlement Class Member any funds
           necessary to pay such amounts, including the establishment of adequate reserves for
           any taxes and tax expenses (as well as any amounts that may be required to be withheld
           under Treas. Reg. § 1.468B-2(1)(2)); neither the Released Parties, Defendants’
           Counsel, nor Class Counsel are responsible nor shall they have any liability therefor.
           The Settling Parties agree to cooperate with the Escrow Agent, each other, and their
           tax attorneys and accountants to the extent reasonably necessary to carry out the
           provisions of this Article.

     5.4   Within thirty (30) calendar days after the later of (a) the date the Preliminary Approval
           Order is entered or (b) the date the escrow account described in Paragraph 5.1 is



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           established and the Escrow Agent shall have furnished to Defendants in writing the
           escrow account name, IRS W-9 Form, and all necessary instructions and mailing
           address information for payment by check, Defendants and/or their insurer shall deposit
           one hundred thousand dollars ($100,000) of the Gross Settlement Amount into the
           Qualified Settlement Fund to be used for the initial Administrative Expenses and the
           costs of sending the Settlement Notice to the Settlement Class.

     5.5   Within thirty (30) calendar days after the Final Approval Order, Defendants and/or
           their insurer shall deposit, via check or wire transfer at the discretion of Defendants
           and/or their insurer, seven million four hundred thousand dollars ($7,400,000) of the
           Gross Settlement Amount into the Qualified Settlement Fund.

     5.6   The Escrow Agent shall, at the direction of Class Counsel, invest the Qualified
           Settlement Fund in short-term United States Agency or Treasury Securities or other
           instruments backed by the Full Faith and Credit of the United States Government or an
           Agency thereof, or fully insured by the United States Government or an Agency
           thereof, and shall reinvest the proceeds of these investments as they mature in similar
           instruments at their then-current market rates.

     5.7   The Escrow Agent shall not disburse the Qualified Settlement Fund or any portion
           thereof except as provided in this Settlement Agreement, in an order of the Court, or in
           a subsequent written stipulation between Counsel consistent with the terms of this
           Settlement Agreement. Subject to the orders of the Court, the Escrow Agent is
           authorized to execute such transactions as are consistent with the terms of this
           Settlement Agreement.

     5.8   The Qualified Settlement Fund shall be used to pay for: all Settlement Administration
           Expenses, any award of Attorneys’ Fees and Expenses, and any Plaintiffs’
           Compensation as follows:

           5.8.1   The Gross Settlement Amount will be distributed from the Qualified Settlement
                   Fund as follows: (a) first, any award of Attorneys’ Fees and Expenses shall be
                   paid to Co-Lead Class Counsel, on behalf of Class Counsel, within ten (10)
                   business days after the date on which the Qualified Settlement Fund is funded
                   in accordance with Paragraph 5.5 above; (b) second, all Administrative
                   Expenses not paid previously shall be paid within fourteen (14) business days
                   after the Settlement Effective Date; (c) third, any Plaintiffs’ Compensation
                   ordered by the Court shall be paid within fourteen (14) business days after the
                   Settlement Effective Date; (d) fourth, a contingency reserve not to exceed an
                   amount to be mutually agreed upon by the Settling Parties shall be set aside by
                   the Settlement Administrator for: (i) Administrative Expenses incurred before
                   the Settlement Effective Date but not yet paid, (ii) Administrative Expenses
                   estimated to be incurred after the Settlement Effective Date, and (iii) an amount
                   estimated for adjustments of data or calculation errors; and (e) fifth, the Net
                   Settlement Amount will be distributed in accordance with the Plan of
                   Allocation. Pending final distribution of the Net Settlement Amount in



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                       accordance with the Plan of Allocation, the Escrow Agent will maintain the
                       Qualified Settlement Fund.

      5.9      The Escrow Agent, or the Settlement Administrator on its behalf, shall be responsible
               for making provision for the payment from the Qualified Settlement Fund of all taxes
               and tax expenses, if any, owed with respect to the Qualified Settlement Fund, and for
               all tax reporting, remittance, and/or withholding obligations, if any, for amounts
               distributed from it. The Released Parties, Defendants’ Counsel, and/or Class Counsel
               have no responsibility or any liability for any taxes or tax expenses owed by, or any tax
               reporting or withholding obligations, if any, of the Qualified Settlement Fund.

      5.10     No later than February 15 of the year following the calendar year in which Defendants,
               their insurers, or agents make a transfer to the Qualified Settlement Fund in accordance
               with the terms of this Article 5, Defendants, their insurers, or agents shall timely furnish
               a statement to the Escrow Agent, or the Settlement Administrator on its behalf, that
               complies with Treas. Reg. § 1.468B-3(e)(2), which may be a combined statement under
               Treas. Reg. § 1.468B3(e)(2)(ii), and shall attach a copy of the statement to their federal
               income tax returns filed for the taxable year in which Defendants, their insurers, or
               agents make a transfer to the Qualified Settlement Fund.

 6.         Article 6 – Plan of Allocation

      6.1      After the Settlement Effective Date, the Settlement Administrator shall cause the Net
               Settlement Amount to be allocated and distributed to Current Participants, Former
               Participants, and their Beneficiaries or Alternate Payees, in accordance with the Plan
               of Allocation set forth in this Article 6 and as ordered by the Court.

      6.2      To be eligible for a distribution from the Net Settlement Amount, a person must be
               (a) a Current Participant; (b) a Former Participant whose Preliminary Entitlement
               Amount (defined below) is at least twenty-five dollars ($25); or (c) a Beneficiary or
               Alternate Payee of a Current Participant or Former Participant.

               6.2.1   As described below, Current Participants shall receive their Settlement
                       Payments as earnings credited to their Plan accounts, as provided in Paragraph
                       6.9 below, unless the Current Participant no longer has an Active Account as of
                       the date Settlement Payments are made, in which case such Current Participant
                       will receive a distribution via a tax-qualified distribution process as set forth in
                       Paragraph 6.10 below.

               6.2.2   Former Participants whose Preliminary Entitlement Amount, as calculated
                       according to Paragraph 6.5, below, is at least $25 shall receive a distribution via
                       a tax-qualified distribution process as set forth in Paragraph 6.11 below.

               6.2.3   Beneficiaries shall receive payments by check in amounts corresponding to
                       their entitlement as beneficiaries of the Current Participant or of the Former
                       Participant with respect to which the payment is made. Alternate Payees shall



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                   receive payments by check if and to the extent they are entitled to receive a
                   portion of a Current Participant’s or Former Participant’s allocation under this
                   Article 6 in accordance with the terms of the applicable Qualified Domestic
                   Relations Order on file with the Plan’s recordkeeper(s), provided that such
                   Alternate Payee’s entitlement to such benefit under the Plan was in effect before
                   March 31, 2022. The Settlement Administrator shall have sole and final
                   discretion to determine the amounts to be paid to Beneficiaries and Alternate
                   Payees in accordance with the Plan of Allocation set forth in this Article 6 and
                   as ordered by the Court, and the Settling Parties shall have no liability for such
                   determinations.

     6.3   In general terms, the Plan of Allocation will provide that each Settlement Class
           Member’s share of the Net Settlement Amount will be calculated as follows:

                   The percentage of the Net Settlement Amount to be allocated to each
                   Settlement Class Member will be calculated by dividing the sum of a
                   Settlement Class Member’s quarter-end account balances for each
                   quarter ended during the Settlement Class Period by the sum of quarter-
                   end account balances of all of the Settlement Class Members for each
                   quarter ended during the Settlement Class Period.

     6.4   The Settlement Administrator shall obtain from Defendants or the Plan’s
           recordkeeper(s), for each Settlement Class Member, the quarter-ending account
           balances in the Plan during the Settlement Class Period.

     6.5   Calculation of Settlement Payments. Payments to Current Participants and Former
           Participants shall be calculated by the Settlement Administrator pursuant to the Plan of
           Allocation as follows:

           6.5.1   Step One: For each Current Participant and Former Participant, the Settlement
                   Administrator shall add together all of his or her quarter-end balances during
                   the Settlement Class Period, using each Settlement Class Member’s June 30,
                   2011 account balance as the opening balance, to arrive at each Current
                   Participant’s and Former Participant’s “Total Balance” for the Settlement Class
                   Period. The Plan’s recordkeeper(s) is to provide the Settlement Administrator
                   with all information necessary for calculation of Settlement payments, in Excel
                   or CSV format, no later than twenty-one (21) days after entry of the Settlement
                   Effective Date.

           6.5.2   Step Two: The Settlement Administrator shall add together the Total Balance
                   for all Current Participants and Former Participants who have a Total Balance
                   greater than $0 to arrive at the “Total Balance For The Class.”

           6.5.3   Step Three: The Settlement Administrator will then, for each Current
                   Participant and Former Participant with a Total Balance greater than $0, divide
                   his or her Total Balance by the Total Balance For The Class, with the quotient
                   representing the “Preliminary Entitlement Percentage” for each such Current


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                   Participant and Former Participant (i.e., Preliminary Entitlement Percentage =
                   Total Balance for each Settlement Class Member ÷ Total Balance For The
                   Class).

           6.5.4   Step Four: The Settlement Administrator shall multiply each Current
                   Participant’s and each Former Participant’s Preliminary Entitlement Percentage
                   by the Net Settlement Amount, with the product representing the Settlement
                   Class Member’s “Preliminary Entitlement Amount” (i.e., Preliminary
                   Entitlement Amount = Preliminary Entitlement Percentage x Net Settlement
                   Amount).

           6.5.5   Step Five: The Settlement Administrator shall identify all Former Participants
                   whose Preliminary Entitlement Amount is less than $25 (the “No Payment
                   Group”), as such an amount is de minimus and would cost more in processing
                   than its value. Next, the Settlement Administrator shall repeat Steps Two
                   through Four above, this time excluding the Total Balances for the No Payment
                   Group, to arrive at the “Final Entitlement Percentage” for each remaining
                   Current Participant and Former Participant (i.e., Final Entitlement Percentage
                   = [Total Balance for each Class Member not in the No Payment Group] ÷ [Total
                   Balance For The Class minus the Total Balance for the No Payment Group]).

           6.5.6   Step Six: The Settlement Administrator shall multiply the Final Entitlement
                   Percentage for each Current Participant and Former Participant not included in
                   the No Payment Group by the Net Settlement Amount, with the product
                   representing each such Class Member’s “Final Entitlement Amount.”

     6.6   The Settlement Administrator will calculate the total amount due in accordance with
           this Article 6 for each Current Participant and Former Participant (or their Beneficiaries
           or Alternate Payees). The Settlement Administrator shall utilize the calculations
           described herein for (a) making the required payments to Settlement Class Members
           under this Article 6 of the Settlement Agreement; and (b) instructing the Plan as to the
           amounts to be distributed to Current Participants under Paragraph 6.9 of the Settlement
           Agreement and calculating the total amount to credit each Current Participant’s Active
           Account(s) to fulfill this instruction.

     6.7   The total amount of all payments to all Settlement Class Members (i.e., the total amount
           of all checks to be written by the Settlement Administrator plus the total amount of all
           credits that the Plan is instructed to make to Current Participants) shall not exceed the
           Net Settlement Amount. In the event the Settlement Administrator determines that the
           Plan of Allocation would otherwise require payments exceeding the Net Settlement
           Amount, the Settlement Administrator is authorized to make such non-material
           changes as are necessary to the Plan of Allocation, with the approval of the Settling
           Parties, to ensure that payments to Settlement Class Members do not exceed the Net
           Settlement Amount.




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     6.8   The Settlement Administrator shall complete all payment calculations for all
           Settlement Class Members within thirty (30) days after receiving the information
           pursuant to 6.5.1.

     6.9   Payments to Current Participants. For Current Participants with an Active Account
           at the time of the Settlement Payments, any distribution will be made into their accounts
           in the Plan. As described below, the Settlement Administrator shall cause an amount
           equal to the portion of the Net Settlement Amount allocated under the Plan of
           Allocation to the Current Participants, along with data and other supporting information
           identifying the settlement share amount owed to each Current Participant, to be
           transferred to the Plan’s existing recordkeeper in accordance with the recordkeeper’s
           requirements for receiving same. The Plan’s recordkeeper will then distribute the
           individual settlement shares to the Current Participants with Active Accounts pursuant
           to the data and other supporting information provided by the Settlement Administrator,
           and in accordance with instructions from Class Counsel and the Plan of Allocation. All
           such amounts shall be retained in the Qualified Settlement Fund for distribution under
           this Article 6.

           6.9.1   Within three (3) business days after the Settlement Administrator has completed
                   all payment calculations for all Current Participants, the Settlement
                   Administrator will provide notice to Defendants and send to the Plan’s
                   recordkeeper an Excel spreadsheet in a form requested by the Plan’s
                   recordkeeper containing the name and the amount of the Settlement Payment to
                   be made for each Current Participant, along with other identifying information
                   as requested by the recordkeeper.

           6.9.2   Within ten (10) business days after the Settlement Administrator provides the
                   Current Participant information described in Paragraph 6.9.1 to the Plan’s
                   recordkeeper, such recordkeeper will provide the Settlement Administrator a
                   list of which Current Participants (if any) no longer have an Active Account.

           6.9.3   Thereafter, within ten (10) business days after receiving confirmation as
                   provided in Paragraph 6.9.2, the Settlement Administrator shall effect a transfer
                   from the Qualified Settlement Fund to the Plan’s recordkeeper of the aggregate
                   amount of all Settlement Payments payable to Current Participants, as reflected
                   in the spreadsheets provided by the Settlement Administrator.

           6.9.4   Defendants (or their designee) shall direct the Plan’s recordkeeper to credit the
                   individual Active Account(s) of each Current Participant in an amount equal to
                   that stated on the spreadsheets provided by the Settlement Administrator in
                   relation to such Current Participant.

           6.9.5   The Settlement Payment for each Current Participant will be invested in
                   accordance with and proportionate to such Current Participant’s investment
                   elections then on file for new contributions with the recordkeeper. If there is
                   no investment election for new contributions on file for any Current Participant



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                   with a recordkeeper, then such Current Participant shall be deemed to have
                   directed such payment to be invested in the Plan’s “Qualified Default
                   Investment Alternative” as defined in 29 C.F.R. § 2550.404c-5.

     6.10   Payments to Current Participants who No Longer Have an Active Account. For
            Current Participants who no longer have an Active Account as of the date Settlement
            Payments are made, such Participants will be receive a distribution via the tax-qualified
            distribution process set forth Paragraph 6.11 below.

     6.11   Payments to Former Participants. For Former Participants, the distribution will be
            made via a tax-qualified distribution process employing procedures described in 29
            C.F.R. § 2550.404a-2, Safe Harbor for Automatic Rollover to Individual Retirement
            Plans, and in Section 7.20 of the Plan, Automatic Cash Out of Account, with the
            assistance of Retirement Clearinghouse or such other provider of automatic rollover
            IRAs selected by the Plan Administrator (“Rollover IRA Provider”). The Settlement
            Administrator shall cause an amount equal to the portion of the Net Settlement Fund
            allocated under the Plan of Allocation to the Former Participants, along with data and
            other supporting information identifying the settlement share amount owed to each
            Former Participant, to be transferred to the Rollover IRA Provider in accordance with
            the Rollover IRA Provider’s requirements for receiving same as safe-harbor automatic
            rollovers as described in 29 C.F.R § 2550.404a-2, to be administered in accordance
            with that regulation. The Rollover IRA Provider will then notify each individual
            Former Participant of the establishment of the automatic rollover IRA and the methods
            and means by which to access and manage such account. No Former Participant whose
            entitlement to payment pursuant to the Plan of Allocation would otherwise be less than
            twenty-five dollars ($25) shall receive any payment from the Net Settlement Fund.

               6.11.1 All fees and expenses associated with the process set forth in this Paragraph
                      6.10 shall be paid from the Gross Settlement Amount as Administrative
                      Expenses under this Settlement Agreement and/or by the individual Former
                      Participants whose distributions are subject to this provision. Neither
                      Defendants nor the Plan shall be subject to any expense associated with this
                      distribution process over and above the Gross Settlement Amount.

               6.11.2 Neither the Released Parties nor Defendants’ Counsel shall have any
                      responsibility for the establishment, management, or any other conduct
                      related to the rollover IRAs described in this Paragraph 6.10, nor shall they
                      have any liability therefor.

     6.12   Neither the Released Parties, Defendants’ Counsel, nor Class Counsel shall have any
            responsibility for or liability whatsoever with respect to any tax advice given to the
            Former Participants or the Current Participants.

     6.13   For any check the Settlement Administrator must issue to any Settlement Class
            Member (including Beneficiaries and Alternate Payees), the Settlement Administrator
            shall (a) calculate and withhold any applicable taxes associated with such payments;



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            (b) report such payments and remit such tax withholdings to the Internal Revenue
            Service and applicable state revenue agents; and (c) issue appropriate tax forms to the
            Settlement Class Member.

     6.14   This Plan of Allocation is based upon preliminary data regarding the Settlement Class
            Members who may be entitled to Settlement Payments. If the Settlement Administrator
            concludes that it is impracticable to implement any material provision of this Plan of
            Allocation, the Settling Parties will modify promptly the terms of this Plan of
            Allocation and present such modified terms, first, to the Independent Fiduciary for its
            review and approval and, second, to the Court for its approval. Direct mailed or
            electronic notice to Settlement Class Members of such proposed material modification
            of the Plan of Allocation shall not be required. However, notice of such proposed
            material modification shall be posted on the Settlement Website within five (5)
            business days of the date that the proposed modification is submitted to the Court for
            its approval. If the proposed material modification is implemented, notice of such
            modification shall be posted on the Settlement Website within five (5) business days
            of the date that the modification was implemented. The Settlement Administrator may
            make non-material modifications to the terms of the Plan of Allocation with the consent
            of the Settling Parties.

     6.15   The Settlement Administrator shall be solely responsible for performing any
            calculations required by this Plan of Allocation. Defendants, Plaintiffs, and their
            respective counsel shall have no responsibility or liability for the distribution of the Net
            Settlement Amount to Settlement Class Members.

     6.16   Within ten (10) business days of completing all aspects of this Plan of Allocation, the
            Settlement Administrator shall send to Class Counsel and Defendants’ Counsel one or
            more affidavits stating the following: (a) the name of each Settlement Class Member
            to whom the Settlement Administrator sent the Settlement Notice, and the address of
            such mailing; (b) the date(s) upon which the Settlement Administrator sent the
            Settlement Notice; (c) the name of each Settlement Class Member whose Settlement
            Notice was returned as undeliverable; (d) the efforts made by the Settlement
            Administrator to find the correct address and to deliver the Settlement Notice for each
            such Settlement Class Member; and (e) the name of each Settlement Class Member to
            whom the Settlement Administrator made a distribution from the Net Settlement
            Amount, together with the amount of the distribution, the name of the payee, the date
            of distribution, the amount of tax withholdings, if applicable, and the date of remittance
            of tax withholdings to the appropriate tax authority, if applicable. These affidavits and
            the accompanying information shall be considered and treated as confidential by all
            parties and, if applicable, pursuant to the Confidentiality Agreement or any non-
            disclosure or security protocol required by the Settling Parties.

     6.17   The Settling Parties acknowledge that any payments to Settlement Class Members or
            their attorneys may be subject to applicable tax laws. Defendants, Defendants’
            Counsel, Class Counsel, and Plaintiffs will provide no tax advice to the Settlement
            Class Members and make no representation regarding the tax consequences of any of



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               the settlement payments described in this Settlement Agreement. To the extent that
               any portion of any Settlement payment is subject to income or other tax, the recipient
               of the payment shall be responsible for payment of such tax. Deductions will be made,
               and reporting will be performed by the Settlement Administrator, as required by law in
               respect of all payments made under the Settlement Agreement. Payments from the
               Qualified Settlement Fund shall not be treated as wages by the Settling Parties.

      6.18     Each Settlement Class Member, Beneficiary, or Alternate Payee who receives a
               payment under this Settlement Agreement shall be fully and ultimately responsible for
               payment of any and all federal, state, or local taxes resulting from or attributable to the
               payment received by such person. Each such Settlement Class Member, Beneficiary,
               or Alternate Payee shall hold the Released Parties, Defendants’ Counsel, Class
               Counsel, and the Settlement Administrator harmless from any tax liability, including
               penalties and interest, related in any way to payments under the Settlement Agreement,
               and shall hold the Released Parties, Defendants’ Counsel, Class Counsel, and the
               Settlement Administrator harmless from the costs (including, for example, attorneys’
               fees and disbursements) of any proceedings (including, for example, investigation and
               suit) related to such tax liability.

      6.19     All checks issued in accordance with this Plan of Allocation shall expire no later than
               one hundred and twenty (120) calendar days after their issue date. All checks that are
               undelivered or are not cashed before their expiration date shall revert to the Qualified
               Settlement Fund.

      6.20     No sooner than eighteen (18) months after the entry of the Settlement Effective Date,
               any Net Settlement Amount remaining in the Qualified Settlement Fund after
               distributions, including costs, taxes and interest-earned on the Qualified Settlement
               Fund, shall be paid to the Plan for the purpose of defraying administrative fees and
               expenses of the Plan. In no event shall any part of the Settlement Fund be used to
               reimburse any Defendants or otherwise offset settlement-related costs incurred by any
               Defendants, other than as expressly set forth in this Settlement Agreement.

 7.         Article 7 – Attorneys’ Fees and Expenses and Plaintiffs’ Compensation

      7.1      Class Counsel’s Attorneys’ Fees and Expenses will be subject to the Court’s approval,
               will be recovered from the Gross Settlement Amount, and shall be paid out of the
               Qualified Settlement Fund in this Agreement. Defendants will take no position on
               Class Counsel’s application for Attorneys’ Fees and Expenses, provided that Class
               Counsel do not request an award of attorneys’ fees higher than one-third of the Gross
               Settlement Amount, plus expenses.

      7.2      Class Counsel will apply to the Court for a collective award of Attorneys’ Fees and
               Expenses at least thirty (30) days before the deadline set in the Preliminary Approval
               Order for objections to the proposed Settlement, which may be supplemented
               thereafter.




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     7.3   Within ten (10) business days of the date on which the Qualified Settlement Fund is
           funded in accordance with Paragraph 5.5 above, the Settlement Administrator shall
           distribute the full amount of any award of Attorneys’ Fees and Expenses to Co-Lead
           Class Counsel, on behalf of Class Counsel, subject to Class Counsel executing the
           Undertaking Regarding Attorneys’ Fees and Costs, and providing all information
           necessary to effectuate such transmission, including adequate payment instructions
           consisting of wire transfer instructions, instructions for payment by check, and
           completed IRS Forms W-9 (including addresses and tax identification numbers).
           Pursuant to the Undertaking Regarding Attorneys’ Fees and Costs, Class Counsel
           hereby jointly and severally submit themselves and their law firms (including all
           shareholders, members, and/or partners of their law firms) to the obligation to repay to
           Defendants the Attorneys’ Fees and Expenses that have been paid if the Court’s Final
           Approval Order and Final Judgment and/or order regarding Attorneys’ Fees and
           Expenses is vacated, overturned, reversed, or rendered void. Furthermore, the
           Undertaking Regarding Attorneys’ Fees and Costs authorizes the Court to summarily
           issue orders (including but not limited to judgments and attachment orders) against
           each of Class Counsel for up to the full amount of Attorneys’ Fees and Expenses (plus
           any additional attorneys’ fees or expenses incurred by Defendants in connection with
           the litigation or enforcement of the Undertaking), and to make findings for sanctions
           for contempt of court and all other appropriate relief. Class Counsel submits to the
           jurisdiction of the Court to issue such orders.

     7.4   Co-Lead Class Counsel shall be solely responsible for allocating the Attorneys’ Fees
           and Expenses among Class Counsel. Any award of attorneys’ fees shall be allocated
           among Class Counsel in a fashion which, in the opinion of Co-Lead Class Counsel,
           fairly compensates Class Counsel for their respective contributions in the prosecution
           of the Action. Defendants and Defendants’ Counsel shall bear no responsibility for
           this allocation or be subject to any claims or suit under this Settlement Agreement or
           otherwise, which shall be payable solely from the Qualified Settlement Fund.

     7.5   The Court’s consideration of requests for Class Counsel’s fees and expenses are matters
           separate and apart from the Settlement between the Parties, and the Court’s decision
           concerning the Attorneys’ Fees and Expenses of Class Counsel shall not affect the
           validity of the Settlement Agreement or finality of the Settlement in any manner.

     7.6   Class Counsel may also apply to the Court for Plaintiffs’ Compensation awards to
           Plaintiffs Davis, Elliott, and King-Sims in an amount not to exceed $5,000 per Plaintiff
           at least thirty (30) days before the deadline set in the Preliminary Approval Order for
           objections to the proposed Settlement, which may be supplemented thereafter.
           Defendants will take no position with respect to any such applications for Plaintiffs’
           Compensation. Defendants shall have no obligations whatsoever with respect to any
           Plaintiffs’ Compensation, which shall be recovered from the Gross Settlement Amount
           and payable solely from the Qualified Settlement Fund. Any Plaintiffs’ Compensation
           ordered by the Court shall be paid within fourteen (14) calendar days after the
           Settlement Effective Date.




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      7.7      The Court’s consideration of requests for Plaintiffs’ Compensation shall be separate
               from its determination of whether to approve the Settlement. In the event the Court
               approves the Settlement, but declines to award Plaintiffs’ Compensation at all or in the
               amounts requested by Class Counsel, the Settlement will nevertheless be binding on
               the Parties

 8.         Article 8 – Release and Covenant Not to Sue

      8.1      As of the Settlement Effective Date, the Plaintiffs, the Plan (subject to Independent
               Fiduciary approval as required in Article 3), and the Settlement Class Members (and
               their respective heirs, beneficiaries, executors, administrators, estates, past and present
               partners, officers, directors, agents, attorneys, predecessors, successors, and assigns),
               on their own behalves and on behalf of the Plan, shall be deemed to have fully, finally,
               and forever settled, released, relinquished, waived, and discharged all Released Parties
               from the Released Claims, whether or not such Settlement Class Members have
               received a monetary benefit from the Settlement, whether or not such Settlement Class
               Members have filed an objection to the Settlement or to any application by Class
               Counsel for an award of Attorneys’ Fees and Expenses, and whether or not the
               objections or claims for distribution of such Settlement Class Members have been
               approved or allowed.

      8.2      As of the Settlement Effective Date, the Plaintiffs, the Settlement Class Members, and
               the Plan (subject to Independent Fiduciary approval as required by Article 3), expressly
               agree that they, acting individually or together, or in combination with others, shall not
               sue or seek to institute, maintain, prosecute, argue, or assert in any action or proceeding
               (including but not limited to an IRS determination letter proceeding, a Department of
               Labor proceeding, an arbitration or a proceeding before any state insurance or other
               department or commission), any cause of action, demand, or claim on the basis of,
               connected with, or arising out of any of the Released Claims. Nothing herein shall
               preclude any action to enforce the terms of this Settlement Agreement in accordance
               with the procedures set forth in this Settlement Agreement.

      8.3      Class Counsel, the Plaintiffs, Settlement Class Members, or the Plan may hereafter
               discover facts in addition to or different from those that they know or believe to be true
               with respect to the Released Claims. Such facts, if known by them, might have affected
               the decision to settle with the Released Parties, or the decision to release, relinquish,
               waive, and discharge the Released Claims, or the decision of a Settlement Class
               Member not to object to the Settlement. Notwithstanding the foregoing, each
               Settlement Class Member and the Plan shall expressly, upon the entry of the Final
               Approval Order, be deemed to have, and, by operation of the Final Approval Order,
               shall have fully, finally, and forever settled, released, relinquished, waived, and
               discharged any and all Released Claims. The Plaintiffs, Settlement Class Members,
               and the Plan acknowledge and shall be deemed by operation of the Final Approval
               Order to have acknowledged that the foregoing waiver was bargained for separately
               and is a key element of the Settlement embodied in this Settlement Agreement of which
               this release is a part.



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      8.4      Without admitting that California law applies to this Settlement Agreement, each
               Plaintiff, each Settlement Class Member, and the Plan hereby stipulate and agree with
               respect to any and all Released Claims that, upon entry of the Final Approval Order,
               the Settlement Class Members shall be conclusively deemed to, and by operation of the
               Final Approval Order shall, settle, release, relinquish, waive, and discharge any and all
               rights or benefits they may now have, or in the future may have, under any law relating
               to the releases of unknown claims, including Section 1542 of the California Civil Code,
               which provides:

                       A general release does not extend to claims which the creditor or releasing
                       party does not know or suspect to exist in his or her favor at the time of
                       executing the release and that, if known by him or her, would have
                       materially affected his or her settlement with the debtor or released party.

               Also, the Plaintiffs, Settlement Class Members, and the Plan shall, upon entry of the
               Final Approval Order with respect to the Released Claims, waive any and all
               provisions, rights, and benefits conferred by any law or of any State or territory within
               the United States or any foreign country, or any principle of common law, which is
               similar, comparable or equivalent in substance to Section 1542 of the California Civil
               Code.

 9.         Article 9 – Representations and Warranties

      9.1      The Settling Parties represent and agree:

               9.1.1    That they are voluntarily entering into this Settlement Agreement as a result of
                        arm’s-length negotiations among their counsel, and that in executing this
                        Settlement Agreement they are relying solely upon their own judgment, belief,
                        and knowledge, and upon the advice and recommendations of their own
                        independently selected counsel, concerning the nature, extent, and duration of
                        their rights and claims hereunder and regarding all matters that relate in any
                        way to the subject matter hereof;

               9.1.2    That they assume the risk of mistake as to facts or law;

               9.1.3    That they recognize that additional evidence may have come to light, but that
                        they nevertheless desire to avoid the expense and uncertainty of litigation by
                        entering into the Settlement;

               9.1.4    That they have read carefully the contents of this Settlement Agreement, and
                        this Settlement Agreement is signed freely by each individual executing this
                        Settlement Agreement on behalf of each of the Settling Parties; and

               9.1.5    That they have made such investigation of the facts pertaining to the Settlement
                        and all matters pertaining thereto, as they deem necessary;



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       9.2      Each of the individuals executing this Settlement Agreement on behalf of one or more
                of the Settling Parties hereto warrants and represents that he or she has been duly
                authorized and empowered to execute this Settlement Agreement on behalf of his or
                her respective Party.

 10.         Article 10 – Additional Terms

       10.1     There will be a Settlement Period of three years from the Settlement Effective Date,
                during which Defendants agree to comply with the following additional terms:

                10.1.1 to provide annual fiduciary training for all members of the Washington
                       University Retirement Plan Advisory Committee (“RPAC”). Defendants also
                       will provide this training to any new RPAC member(s) at or around the start of
                       their tenure on the RPAC. As part of this annual training, each voting member
                       of the RPAC shall acknowledge that he, she or they serve in a fiduciary capacity
                       and understand his, her or their obligations as a fiduciary;

                10.1.2 to evaluate the Plan’s Investment Policy Statement (“IPS”) at least annually,
                       with input from the Plan’s investment consultant, and implement any updates
                       to the IPS as Defendants may deem appropriate;

                10.1.3 to issue a Request for Proposal for Plan recordkeeping services before the
                       conclusion of the Settlement Period;

                10.1.4 that the Plan’s current investment consultant, CAPTRUST, will advise
                       Defendants with respect to the Plan’s investment options and fees, which advice
                       will include consideration of the performance of Plan investment options, the
                       costs/fees of those investment options, the reasonableness of Plan
                       recordkeeping fees (generally, and in light of the particular services provided
                       to the Plan), the method or means of paying Plan recordkeeping fees, and the
                       overall Plan investment lineup (including the number of options, diversification
                       among those options, etc.);

                10.1.5 to continue maintaining the privacy of Settlement Class Members’ confidential
                       personal information, and to instruct the Plan’s recordkeeper(s) not to use (or
                       allow to be used) Settlement Class Members’ personal information obtained as
                       a result of providing recordkeeping services to the Plan for the purpose of
                       selling non-Plan services or products.

       10.2     The Parties recognize that the additional terms described above will benefit the
                Settlement Class Members. In order to ensure that these actions affecting the Plan are
                not subject to future potentially inconsistent challenges or standards, and in recognition
                of the Defendants’ agreement to such additional terms, the Settlement Class Members
                agree that, during the Settlement Period, and in addition to the Released Claims set
                forth in Paragraph 2.36, they will not sue the Released Parties for any and all claims
                relating to the additional terms above, including any and all claims similar to the claims


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              asserted in the Class Action, during such time as these actions are required pursuant to
              this Agreement (the “Covenant Not to Sue”).

 11.      Article 11 – Termination, Conditions of Settlement, and Effect of Disapproval,
          Cancellation, or Termination

       11.1   Plaintiffs and/or Defendants shall have the right to terminate the Settlement Agreement,
              which thereby would become null and void with no further force or effect, if:

              11.1.1 either the Preliminary Approval Order or the Final Approval Order is not
                     entered by the Court in substantially the form specified herein and submitted by
                     the Settling Parties, or in a form which is agreed to by the Settling Parties;

              11.1.2 the Settlement is not approved by the Court, or is disapproved, or is materially
                     modified upon appeal without the Settling Parties agreeing to such
                     modifications;

              11.1.3 the Settlement Class is not certified as defined herein or in a form which is
                     otherwise agreed to by the Settling Parties; or

              11.1.4 the Independent Fiduciary (a) does not approve the Settlement and does not
                     give a release in its capacity as a fiduciary of the Plan, for and on behalf of the
                     Plan, coextensive with the release from Plaintiffs and the Settlement Class
                     Members; (b) does not authorize the Settlement in accordance with Prohibited
                     Transaction Class Exemption 2003-39; and (c) finds that the Settlement
                     constitutes a prohibited transaction under ERISA § 406(a), and if the Settling
                     Parties do not mutually agree to modify the terms of this Settlement Agreement
                     to facilitate (i) an approval by the Independent Fiduciary, or (ii) the
                     Independent Fiduciary’s determinations required by PTE 2003-39.

       11.2   In the event that the Settlement Agreement is terminated, deemed null and void, or has
              no further force or effect, the Class Action and the Released Claims asserted by
              Plaintiffs shall for all purposes with respect to the Settling Parties revert to their status
              as though the Settling Parties never executed the Settlement Agreement. All funds
              deposited in the Qualified Settlement Fund, and any interest earned thereon, shall be
              returned to Defendants, their agents, or insurers pro rata based on their contributions to
              the Qualified Settlement Fund within thirty (30) calendar days after the Settlement
              Agreement is finally terminated or deemed null and void, except as provided for in
              Paragraph 11.4.

       11.3   It shall not be deemed a failure to approve the Settlement Agreement if the Court
              denies, in whole or in part, Class Counsel’s request for Attorneys’ Fees and Expenses
              and/or Plaintiffs’ Compensation and/or modifies any of the proposed orders relating to
              Attorneys’ Fees and Expenses and/or Plaintiffs’ Compensation.




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       11.4   In the event that the Settlement Agreement is terminated, Administrative Expenses
              incurred prior to the termination shall be paid first from the interest earned, if any, on
              the Qualified Settlement Fund. Administrative Expenses in excess of the interest
              earned on the Qualified Settlement Fund shall be split evenly and paid by Class
              Counsel, on the one hand, and Defendants (or their insurer(s)), on the other hand.

 12.      Article 12 – Confidentiality of the Settlement Negotiations and permitted Settlement-
          Related Communications

       12.1   Except as set forth explicitly below, the Settling Parties, Class Counsel, and
              Defendants’ Counsel agree to keep confidential all positions, assertions, and offers
              made during settlement negotiations relating to the Class Action and the Settlement
              Agreement, except that they may discuss the negotiations with the Settlement Class
              Members, the Independent Fiduciary, and the Settling Parties’ tax, legal, and regulatory
              advisors, provided in each case that they (a) secure written agreements with such
              persons or entities that such information shall not be further disclosed and (b) comply
              with this Article 12 in all other respects.

       12.2   Other than the Settlement Website and a description of the Settlement Agreement’s
              terms and status on Class Counsel’s individual website, the Plaintiffs and Class Counsel
              agree that they will not issue any other public statement regarding the Settlement,
              including press releases and/or initiating any communication with media or publication
              entities about the Settlement.

       12.3   The Plaintiffs and Class Counsel agree that they will keep the Settlement confidential
              and will not disclose the details of the Settlement to anyone until after the motion for
              preliminary approval of the Settlement has been filed with the Court, other than as
              necessary for the administration of the Settlement including to the Settlement
              Administrator.

 13.      Article 13 – General Provisions

       13.1   The Settling Parties agree to cooperate fully with each other in seeking the Court’s
              approval of the Preliminary Approval Order and the Final Approval Order, and to do
              all things as may reasonably be required to effectuate preliminary and final approval
              and the implementation of this Settlement Agreement according to its terms. The
              Settling Parties agree to provide each other with copies of any filings necessary to
              effectuate this Settlement reasonably in advance of filing.

       13.2   Within sixty (60) calendar days after the Qualified Settlement Fund is fully and finally
              exhausted, the Settling Parties shall either return to the producing parties, or destroy,
              all documents produced under a claim of confidentiality in accordance with the
              Confidentiality Agreement, including but not limited to documents produced under a
              claim of privilege. The Settling Parties, Class Counsel, and Defendants’ Counsel agree
              that at all times they will honor the requirements of the Confidentiality Agreement,
              including with regard to the parties’ settlement negotiations, notwithstanding
              Settlement of the Class Action. This provision shall not preclude the parties from


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            maintaining for their records a secured electronic copy of any document that is
            designated as confidential in this case.

     13.3   This Settlement Agreement, whether or not consummated, and any negotiations or
            proceedings hereunder are not, and shall not be construed as, deemed to be, or offered
            or received as evidence of an admission by or on the part of any Released Party of any
            wrongdoing, fault, or liability whatsoever by any Released Party, or give rise to any
            inference of any wrongdoing, fault, or liability or admission of any wrongdoing, fault,
            or liability in the Class Action or any other proceeding, and Defendants and the
            Released Parties admit no wrongdoing, fault, or liability with respect to any of the
            allegations or claims in the Class Action. This Settlement Agreement, whether or not
            consummated, and any negotiations or proceedings hereunder, shall not constitute
            admissions of any liability of any kind, whether legal or factual. Subject to Federal
            Rule of Evidence 408, the Settlement and the negotiations related to it are not
            admissible as substantive evidence, for purposes of impeachment, or for any other
            purpose. Defendants deny all allegations of wrongdoing and deny all allegations and
            claims in the Class Action. Defendants contend that the Plan has been managed,
            operated, and administered at all relevant times reasonably and prudently and in
            accordance with ERISA, including that statute’s fiduciary duty and prohibited
            transaction provisions.

     13.4   Neither the Settling Parties, Class Counsel, nor Defendants’ Counsel shall have any
            responsibility for or liability whatsoever with respect to (a) any act, omission, or
            determination of the Settlement Administrator, or any of their respective designees or
            agents, in connection with the administration of the Gross Settlement Amount or
            otherwise; (b) the determination of the Independent Fiduciary; (c) the management,
            investment, or distribution of the Qualified Settlement Fund; (d) the Plan of Allocation
            as approved by the Court; (e) the determination, administration, calculation, or payment
            of any claims asserted against the Qualified Settlement Fund; (f) any losses suffered
            by, or fluctuations in the value of, the Qualified Settlement Fund; or (g) the payment
            or withholding of any taxes, expenses, and/or costs incurred in connection with the
            taxation of the Qualified Settlement Fund or tax reporting, or the filing of any returns.
            Further, neither Defendants nor Defendants’ Counsel shall have any responsibility for,
            or liability whatsoever with respect to, any act, omission, or determination of Class
            Counsel in connection with the administration of the Gross Settlement Amount or
            otherwise.

     13.5   Only Class Counsel shall have standing to seek enforcement of this Settlement
            Agreement on behalf of Plaintiffs and Settlement Class Members. Any individual
            concerned about Defendants’ compliance with this Settlement Agreement may so
            notify Class Counsel and direct any requests for enforcement to them. Class Counsel
            shall have the full and sole discretion to take whatever action they deem appropriate,
            or to refrain from taking any action, in response to such request. Any action by Class
            Counsel to monitor or enforce the Settlement Agreement shall be done without
            additional fee or reimbursement of expenses beyond the Attorneys’ Fees and Expenses
            determined by the Court.



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     13.6   This Settlement Agreement shall be interpreted, construed, and enforced in accordance
            with applicable federal law, and to the extent that federal law does not govern, Missouri
            law.

     13.7   The Settling Parties agree that any and all disputes concerning compliance with the
            Settlement Agreement, with the exception of any and all disputes concerning
            compliance with Article 8, shall be exclusively resolved as follows:

        13.7.1     If a Settling Party has reason to believe that a legitimate dispute exists
                   concerning the Settlement Agreement, other than any and all disputes
                   concerning compliance with Article 8, the party raising the dispute shall first
                   promptly give written notice under the Settlement Agreement to the other party
                   including in such notice: (a) a reference to all specific provisions of the
                   Settlement Agreement that are involved; (b) a statement of the alleged non-
                   compliance; (c) a statement of the remedial action sought; and (d) a brief
                   statement of the specific facts, circumstances, and any other arguments
                   supporting the position of the party raising the dispute;

        13.7.2     Within twenty (20) calendar days after receiving the notice described in
                   Paragraph 13.7.1, the receiving party shall respond in writing with its position
                   and the facts and arguments it relies on in support of its position;

        13.7.3     For a period of not more than twenty (20) calendar days following mailing of
                   the response described in Paragraph 13.7.2, the Settling Parties shall undertake
                   good-faith negotiations, which may include meeting in person or conferring by
                   telephone, to attempt to resolve the dispute;

        13.7.4     If the dispute is not resolved during the period described in Paragraph 13.7.3,
                   the parties shall conduct a mediation of the dispute with the Mediator on the
                   earliest reasonably practicable date; provided, however, that the scope of such
                   mediation shall be expressly limited to the dispute;

        13.7.5     The Settling Parties intend to resolve any dispute quickly, expeditiously, and
                   inexpensively. Accordingly, there shall be no discovery allowed in connection
                   with mediation under Paragraph 13.7.4, and no witnesses shall be presented or
                   examined during the mediation. The Mediator will make a final decision
                   resolving the dispute based solely on the papers, documents, testimony, and
                   arguments of counsel presented to him/her.

        13.7.6     In any mediation under Paragraph 13.7.4, each party shall bear its own
                   attorneys’ fees and costs.

     13.8   The Settling Parties agree that the Court has personal jurisdiction over the Settlement
            Class and Defendants and shall maintain personal and subject matter jurisdiction for
            purposes of resolving any disputes between the Settling Parties concerning compliance



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            with this Settlement Agreement that are not resolved under Paragraph 13.7. Any
            motion or action to enforce this Settlement Agreement—including by way of
            injunction—may be filed in the U.S. District Court for the Eastern District of Missouri,
            and/or asserted by way of an affirmative defense or counterclaim in response to any
            action asserting a violation of the Settlement Agreement.

     13.9   The Settlement Agreement may be executed by exchange of executed signature pages,
            and any signature transmitted by facsimile or e-mail attachment of scanned signature
            pages for the purpose of executing this Settlement Agreement shall be deemed an
            original signature for purposes of this Settlement Agreement. The Settlement
            Agreement may be executed in any number of counterparts, and each of such
            counterparts shall for all purposes be deemed an original, and all such counterparts
            shall together constitute the same instrument.

     13.10 Each party to this Settlement Agreement hereby acknowledges that he/she/it has
           consulted with and obtained the advice of counsel prior to executing this Settlement
           Agreement and that this Settlement Agreement has been explained to that party by his,
           her, or its counsel.

     13.11 Any headings included in this Settlement Agreement are for convenience only and do
           not in any way limit, alter, or affect the matters contained in this Settlement Agreement
           or the Articles or Paragraphs they caption. References to a person are also to the
           person’s permitted successors and assigns, except as otherwise provided herein.
           Whenever the words “include,” “includes,” or “including” are used in this Settlement
           Agreement, they shall not be limiting but shall be deemed to be followed by the words
           “without limitation.”

     13.12 Before entry of the Preliminary Approval Order and approval of the Independent
           Fiduciary, this Settlement Agreement may be modified or amended only by written
           agreement signed by or on behalf of all Settling Parties. Following approval by the
           Independent Fiduciary, this Settlement Agreement may be modified or amended only
           if such modification or amendment is set forth in a written agreement signed by or on
           behalf of all Settling Parties and only if the Independent Fiduciary approves such
           modification or amendment in writing. Following entry of the Preliminary Approval
           Order, this Settlement Agreement may be modified or amended only by written
           agreement signed on behalf of all Settling Parties, and only if the modification or
           amendment is approved by the Independent Fiduciary in writing and approved by the
           Court.

     13.13 The provisions of this Settlement Agreement may be waived only by an instrument in
           writing executed by the waiving party and specifically waiving such provisions. The
           waiver of any breach of this Settlement Agreement by any party shall not be deemed
           to be or construed as a waiver of any other breach or waiver by any other party, whether
           prior, subsequent, or contemporaneous, of this Settlement Agreement.




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     13.14 This Settlement Agreement and the exhibits attached hereto constitute the entire
           agreement among the Settling Parties and no representations, warranties, or
           inducements have been made to any party concerning the Settlement other than those
           contained in this Settlement Agreement and the exhibits thereto. All of the exhibits
           attached hereto are incorporated by reference as though fully set forth herein. Those
           exhibits shall be: Exhibit A – CAFA Notice; Exhibit B – [Proposed] Final Approval
           Order; Exhibit C – [Proposed] Preliminary Approval Order; and Exhibit D –
           Settlement Notice.

     13.15 No provision of the Settlement Agreement or of the exhibits attached hereto shall be
           construed against or interpreted to the disadvantage of any party to the Settlement
           Agreement because that party is deemed to have prepared, structured, drafted, or
           requested the provision.

     13.16 Each of the Settling Parties agrees, without further consideration, and as part of
           finalizing the Settlement hereunder, that it will in good faith execute and deliver such
           other documents and take such other actions as may be necessary to consummate and
           effectuate the subject matter of this Settlement Agreement.

     13.17 All of the covenants, representation, and warranties, express or implied, oral or written,
           concerning the subject matter of this Settlement Agreement are contained in this
           Settlement Agreement. No party is relying on any oral representations or oral
           agreements. All such covenants, representations, and warranties set forth in this
           Settlement Agreement shall be deemed continuing and shall survive the Settlement
           Effective Date.

     13.18 Any notice, demand, or other communication under this Settlement Agreement (other
           than the Settlement Notice, or other notices given at the direction of the Court) shall be
           in writing and shall be deemed duly given upon receipt if it is addressed to each of
           Class Counsel and Defendants’ Counsel and personally delivered, sent by registered or
           certified mail postage prepaid, or delivered by reputable express overnight courier.

            IF TO THE PLAINTIFFS:

                Todd Collins
                BERGER MONTAGUE PC
                1818 Market Street, Suite 300
                Philadelphia, PA 19103
                tcollins@bm.net

                Steve Schwartz
                CHIMICLES SCHWARTZ KRINER &
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           IF TO THE DEFENDANTS:

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                                         SIGNATORIES

         IN WITNESS WHEREOF, each of the Settling Parties hereto has reviewed and approved

 this Settlement Agreement and has caused this Agreement to be executed on its behalf by its duly

 authorized counsel of record or representative.

  ON BEHALF OF PLAINTIFFS, individually ON BEHALF OF DEFENDANTS:
  and as representatives of the Settlement Class:

  Dated: April 15, 2022                            Dated: April 15, 2022

  /s/ Todd S. Collins                              /s/ Mathew A. Russell

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  Attorneys for Plaintiffs and the Proposed
  Settlement Class




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                              Exhibit A to
                    Settlement Agreement
                               CAFA Notice
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     [MONTH] [DATE], 2022

     VIA FEDERAL EXPRESS

     [Department]
     [Address]

     Re:    Davis, et. al., v. Washington University in St. Louis, et. al.,
            Case No. 4:17-cv-01641, (E.D. Mo.), Notice Pursuant to 28 U.S.C. § 1715

     Dear Sir or Madam:

     On behalf of Defendants Washington University in St. Louis, the Washington University
     in St. Louis Board of Trustees, the Washington University in St. Louis Retirement Plan
     Advisory Committee, the Washington University in St. Louis Plan Administration
     Committee, and the Washington University in St. Louis Executive Vice Chancellor and
     Chief Administrative Officer (collectively “Defendants”), Angeion Group, the Settlement
     Administrator, at the direction of Defendants, hereby provides this Notice of a Proposed
     Class Action Settlement in the above-referenced class actions pursuant to the Class Action
     Fairness Act of 2005 (“CAFA”). The proposed settlement will resolve the case.

     In accordance with Defendants’ obligations under CAFA, the Settlement Administrator, at
     Defendants’ direction, encloses the following:

     (1)    The Complaint, any materials filed with the Complaint, and any Amended
            Complaints.

     Plaintiffs’ Class Action Complaint, Consolidated Class Action Complaint, Amended
     Consolidated Class Action Complaint, and Second Amended Class Action Complaint filed
     in the Davis, et. al., v. Washington University in St. Louis, et. al. case can be found on the
     enclosed CD as “Exhibit 1- Washington University Complaints.”
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     [ADDRESSEE]
     [MONTH] [DATE], 2021
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     (2)    Notice of any scheduled judicial hearing in the class action.

     [If the Court has scheduled a final fairness hearing: The Court has scheduled a final
     fairness hearing regarding the settlement. That hearing will be held on [[DATE]] at the
     Thomas F. Eagleton U.S. Courthouse, 111 South 10th Street, St. Louis, MO 63102.]

     [If the Court has not yet scheduled a final fairness hearing: The Court has not yet
     scheduled a fairness hearing regarding the settlement. Once the Court sets a hearing date,
     such date(s) can be found on PACER as follows: (1) enter PACER through
     https://ecf.moed.uscourts.gov/cgi-bin/login.pl, (2) click on “Query,” (3) enter the civil
     case number, 4:17-cv-01641, (4) click on “Run Query,” and (5) click on “Docket Report.”
     The order(s) scheduling hearing(s) will be found on the docket entry sheet.]

     (3)    Any proposed or final notification to class members.

     The proposed Notice of Class Action Settlement as submitted to the Court can be found on
     the enclosed CD as “Exhibit 2 – Notice of Class Action Settlement and Fairness Hearing to
     Class Members.”

     (4)    Any proposed or final class action settlement.

     The Settlement Agreement entered into by the parties and as submitted to the Court can be
     found on the enclosed CD as “Exhibit 3 – Settlement Agreement.” There are no other
     agreements contemporaneously made between Class Counsel and counsel for the
     Defendants.

     (5)    A final judgment or notice of dismissal.

     Final judgment has not yet been entered. Upon entry, a copy of said judgment can be
     found online through the process described in section (2) above.

     (6)   Names of class members who reside in each state and the estimated
     proportionate share of the claims of such members to the entire settlement.

     On the enclosed CD is a list of the currently known names of Class Members who reside in
     your state. As of today, it is not feasible to identify the names of every Class Member who
     resides in your state; the list of names contained in the attached CD represents our best
     current estimate of the total number of Class Members resident in your state. The specific
     settlement allocation to each Class Member will be determined by the Settlement
     Administrator according to a Court-approved formula. As a result, we do not yet know
     which Class Members will receive settlement proceeds or how much each Class Member
     will receive, and it is not feasible to determine the estimated proportionate share of the
     claims of the Class Members who reside in each state to the entire settlement. Upon final
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     [ADDRESSEE]
     [MONTH] [DATE], 2021
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     approval of the Court, the settlement proceeds will be distributed among the Class
     Members according to the Plan of Allocation as set forth in the Settlement Agreement.

     (7)    Any written judicial opinion relating to the materials described in (3) to (5).

     The Court has not yet entered a Preliminary Approval Order or any opinions relating to the
     materials described in sections (3) to (5). Upon entry, a copy of said Order or opinion can
     be found online through the process described in section (2) above.

     Final judgment has not yet been entered. Upon entry, a copy of said judgment can be
     found online through the process described in section (2) above.

     If you have questions about this notice, the lawsuits, or the enclosed materials, please do
     not hesitate to contact me.

     Sincerely,




     Enclosures
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                              Exhibit B to
                    Settlement Agreement
                         Proposed Final Order
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI

     LATASHA DAVIS, JENNIFER ELLIOTT,)
     and MARLA ALIECE SIMS-KING,     )
     Individually and as representatives of a
                                     )
     class of participants and beneficiaries in and
                                     )
     on behalf of the WASHINGTON     )
     UNIVERSITY RETIREMENT SAVINGS   )
     PLAN,                           )                 Case No. 4:17-cv-01641-RLW
                                     )
                      Plaintiffs,    )
                                     )
            v.                       )
                                     )
     WASHINGTON UNIVERSITY IN ST.    )
     LOUIS, WASHINGTON UNIVERSITY    )
     IN ST. LOUIS BOARD OF TRUSTEES, )
     WASHINGTON UNIVERSITY IN ST.    )
     LOUIS RETIREMENT PLAN ADVISORY )
     COMMITTEE, WASHINGTON           )
     UNIVERSITY IN ST. LOUIS PLAN    )
     ADMINISTRATION COMMITTEE, and   )
     WASHINGTON UNIVERSITY IN ST.    )
     LOUIS EXECUTIVE VICE
     CHANCELLOR AND CHIEF
     ADMINISTRATIVE OFFICER

                            Defendants.

                   [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

           Before this Court is Plaintiffs’ Unopposed Motion for Final Approval of the Class Action

 Settlement of the above-referenced litigation under the terms of a Class Action Settlement

 Agreement dated April 15, 2022 (the “Settlement Agreement”), 1 as well as Plaintiffs’ Motion for

 an Award of Attorneys’ Fees and Expenses and Plaintiffs’ Compensation. Having reviewed and

 considered the Settlement Agreement, the application for final approval of the Settlement,

 Plaintiffs’ application for an award of Attorneys’ Fees and Expenses and compensation to the


 1
   All capitalized terms herein, unless otherwise defined, shall have the same meaning as that
 attributed in the Settlement Agreement.

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  Plaintiffs as Class Representatives, and having conducted a Final Fairness Hearing on [DATE],

  the Court makes the findings and grants the relief set forth below approving the Settlement upon

  the terms and conditions set forth in this Order.

           NOW THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED:

           1.       The Court has jurisdiction over the subject matter of this Action and over all Parties

  to this Action, including all Settlement Class Members.

           2.       Plaintiffs have asserted claims on behalf of the Washington University in St. Louis

  Retirement Savings Plan (“Plan”) and its participants and beneficiaries to recover losses that

  allegedly resulted from violations of the Employee Retirement Income Security Act of 1974, as

  amended, 29 U.S.C. § 1001 et seq. (“ERISA”).

           3.       The Settlement does not constitute an admission of liability by Defendants, and the

  Court expressly does not make any finding of liability or wrongdoing by Defendants.

           4.       On [DATE], the Court entered a Preliminary Approval Order which among other

  things: (a) conditionally certified this matter as a class action for settlement purposes only,

  including defining the Settlement Class, appointing Plaintiffs as Class Representatives, and

  appointing Co-Lead Class Counsel as Class Counsel; (b) preliminarily approved the Settlement;

  (c) approved the form and manner of Settlement Notice to the Settlement Class; (d) set a deadline

  for objections; (e) approved and appointed the Settlement Administrator; and (f) set the date for

  the Final Fairness Hearing.

           5.       The Court hereby approves the maintenance of the Action as a non-opt-out class

  action pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(1) with the Settlement Class

  being defined as:

           All persons who participated in the Plan at any time during the Settlement Class
           Period, including any Beneficiary of a deceased person who participated in the Plan


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           at any time during the Settlement Class Period, and any Alternate Payee of a person
           subject to a Qualified Domestic Relations Order that was in effect before the end
           of the Settlement Class Period and who participated in the Plan at any time during
           the Settlement Class Period. Excluded from the Settlement Class are: Monica
           Allen, Donna Bequette, Lisa Braun, Robert Buer, Trey Byrne, Legail Chandler,
           Mary Corcoran, Phil Dybvig, Ronald Faulbaum, Barbara Feiner, Lorraine Goffe-
           Rush, Linda Hack, Margo Jarrell, Amy Kweskin, Ann Prenatt, Jennifer Schaefer,
           Michael Stohler, Mary Stull, Kim Walker, Henry Webber, Peter Wiedenbeck, Lisa
           Wood, and Gary Yuhas.

  The “Settlement Class Period” is defined as June 8, 2011 through March 31, 2022.

           6.       In accordance with the Court’s Preliminary Approval Order, the Settlement Notice

  was timely distributed to all Settlement Class Members who could be identified with reasonable

  effort, and the Settlement Notice was published on the Settlement Website maintained by Class

  Counsel and/or the Settlement Administrator. Proof of compliance with the Court’s previous

  Order concerning Settlement Notice was filed with the Court.

           7.       The Court finds that the form and method of notifying the Settlement Class of the

  terms and conditions of the proposed Settlement constitutes the best notice practicable under the

  circumstances and included individual notice to all Settlement Class Members who could be

  identified through reasonable efforts. Such Settlement Notice constitutes valid, due, and sufficient

  notice to all Settlement Class Members in compliance with the requirements of Federal Rule of

  Civil Procedure 23(c)(2)(B).

           8.       The Court further determines that Defendants have fully complied with the notice

  requirements of the Class Action Fairness Act of 2005.

           9.       Settlement Class Members had the opportunity to be heard on all issues regarding

  the Settlement and the resolution and release of their claims by submitting objections to the

  Settlement Agreement to this Court.




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           10.      [If applicable] Each and every objection to the Settlement is overruled with

  prejudice.

           11.      The Court, having reviewed the terms of the Settlement submitted by the Parties

  pursuant to Federal Rule of Civil Procedure 23(e)(2), hereby GRANTS the Motion for Final

  Approval and APPROVES the Settlement as being a fair, reasonable, and adequate resolution and

  compromise of this Action and as meeting the requirements of Federal Rule of Civil Procedure 23,

  adopts the Settlement as its Judgment, and ORDERS that the Settlement shall be effective,

  binding, and enforceable according to its terms and conditions. The Court hereby directs the

  Parties, their respective attorneys, and the Settlement Administrator to take the necessary steps to

  effectuate the Settlement in accordance with this Order and the terms of the Settlement Agreement.

           12.      The Court finds that the Settlement has been negotiated vigorously and at arm’s

  length by Class Counsel, and further finds that, at all times, Plaintiffs have acted independently

  and that their interests align with those of the Plan and the Settlement Class. The Court further

  finds that the Settlement arises from a genuine controversy between the Settling Parties and is not

  the result of collusion, nor was the Settlement procured by fraud or misrepresentation.

           13.      The Court finds that the Plan’s participation in the Settlement is on terms no less

  favorable than Plaintiffs’ and the Settlement Class’s and that the Plan does not have any additional

  claims above and beyond those asserted by Plaintiffs that are released as a result of the Settlement.

           14.      The Court determines that the Settlement is not part of an agreement, arrangement,

  or understanding designed to benefit a party in interest, but rather is designed and intended to

  benefit the Plan, and the Plan’s participants and beneficiaries.

           15.      Accordingly, the Court determines that the negotiation and consummation of the

  Settlement by Plaintiffs on behalf of the Plan and the Settlement Class do not constitute “prohibited



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  transactions” as defined by ERISA §§ 406(a) or (b), 29 U.S.C. §§ 1106(a) or (b). Further, the

  Court finds that, in light of the analysis and opinion provided by the Independent Fiduciary, to the

  extent any of the transactions required by the Settlement constitutes a transaction prohibited by

  ERISA § 406(a), 29 U.S.C. §§ 1106(a), such transactions satisfy the provisions of Prohibited

  Transaction Exemption 2003-39. 68 Fed. Reg. 75632 (2003).

           16.      The Plan of Allocation for the Settlement Fund is approved as fair, reasonable, and

  adequate. Any modification or change in the Plan of Allocation that may hereafter be approved

  shall in no way disturb or affect this Judgment and shall be considered separate from this Judgment.

           17.      Plaintiffs, the Plan, and each Settlement Class Member on their own behalf and on

  behalf of their present or former agents, employees, attorneys, accountants, representatives,

  advisers, investment bankers, trustees, parents, heirs, estates, executors, administrators,

  successors, and assigns, hereby fully, finally, and forever settle, release, relinquish, waive, and

  discharge each and all of the Released Parties from the Released Claims, regardless of whether or

  not such Settlement Class Member receives a monetary benefit from the Settlement, filed an

  objection to the Settlement or to any application by Class Counsel for an award of Attorneys’ Fees

  and Expenses, and whether or not the objections of such Class Member have been approved or

  allowed. Without in any way limiting the foregoing release, and solely for the avoidance of doubt,

  it is the intent of the parties that the Released Claims include all breach of fiduciary duty and

  prohibited transaction claims against the University relating to TIAA’s participant loan program,

  but it is not the intent of the parties to release the claims alleged by the Plaintiffs against TIAA in

  Haley v. Teachers Insurance and Annuity Association, 1:17-cv-00855-JPO (S.D.N.Y.) in

  connection with TIAA’s loan program with respect to any ERISA retirement plan.




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           18.      Plaintiffs, the Settlement Class Members, and the Plan, acting individually or

  together, or in combination with others, are hereby barred from suing or seeking to institute,

  maintain, prosecute, argue, or assert in any action or proceeding (including but not limited to an

  IRS determination letter proceeding, a Department of Labor proceeding, an arbitration, or a

  proceeding before any state insurance or other department or commission), any cause of action,

  demand, or claim on the basis of, or arising out of any of the Released Claims, subject to ¶ 17

  above. Nothing herein shall preclude any action to enforce the terms of the Settlement Agreement

  in accordance with the procedures set forth in the Settlement Agreement.

           19.      Class Counsel, Plaintiffs, the Settlement Class Members, and/or the Plan may

  hereafter discover facts in addition to or different from those that they know or believe to be true

  with respect to the Released Claims. Such facts, if known by them, might have affected the

  decision to settle with Defendants and other Released Parties, or the decision to release, relinquish,

  waive, and discharge the Released Claims, or the decision of a Settlement Class Member not to

  object to the Settlement. Notwithstanding the foregoing, each Plaintiff, each Settlement Class

  Member, and the Plan has and have hereby fully, finally, and forever settled, released, relinquished,

  waived, and discharged any and all Released Claims. Plaintiffs, Settlement Class Members, and

  the Plan hereby acknowledged that the foregoing waiver was bargained for separately and is a key

  element of the Settlement embodied in the Settlement Agreement of which this release is a part.

           20.      Plaintiffs, Settlement Class Members, and the Plan hereby settle, release,

  relinquish, waive, and discharge any and all rights or benefits they may now have, or in the future

  may have, under any law relating to the releases of unknown claims, including without limitation,

  Section 1542 of the California Civil Code, which provides: “A general release does not extend to

  claims that the creditor or releasing party does not know or suspect to exist in his or her favor at



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  the time of executing the release and that if known by him or her would have materially affected

  his or her settlement with the debtor or released party.” Plaintiffs, Settlement Class Members, and

  the Plan with respect to the Released Claims also hereby waive any and all provisions, rights, and

  benefits conferred by any law or of any State or territory within the United States or any foreign

  country, or any principle of common law, which is similar, comparable or equivalent in substance

  to Section 1542 of the California Civil Code.

           21.      The Settlement Administrator shall have final authority to determine the share of

  the Net Settlement Amount to be allocated to each Current Participant and each Former Participant.

           22.      With respect to payments or distributions to Former Participants, all questions not

  resolved by the Settlement Agreement shall be resolved by the Settlement Administrator in its sole

  and exclusive discretion.

           23.      With respect to any matters that arise concerning the implementation of

  distributions to Current Participants (after allocation decisions have been made by the Settlement

  Administrator in its sole discretion), all questions not resolved by the Settlement Agreement shall

  be resolved by the Plan administrator or other fiduciaries of the Plan in accordance with applicable

  law and the governing terms of the Plan.

           24.      Pursuant to Federal Rule of Civil Procedure 23(g), the Court hereby confirms its

  prior appointment of Co-Lead Class Counsel of Berger Montague PC, Chimicles Schwartz Kriner

  & Donaldson-Smith LLP, and Schneider Wallace Cottrell Konecky Wotkyns LLP (“Class

  Counsel”). Plaintiffs’ counsel includes Plaintiffs’ Co-Lead Class Counsel plus Edelson Lechtzin

  LLP, Carey Danis & Lowe, and the Edgar Law Firm LLC.

           25.      The Court, after careful review of the time entries and rates requested by Class

  Counsel, and after applying the appropriate standards required by relevant case law, hereby grants



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  Class Counsel’s application for attorneys’ fees and expenses in the amount of $_____________.

  Payment shall be made pursuant to the terms of the Settlement Agreement. Class Counsel’s fees

  are reasonable in light of the successful results achieved by Class Counsel, the monetary and non-

  monetary benefits obtained in this Action, the substantial risks associated with the Action, Class

  Counsel’s skill and experience in class action litigation of this type, and the fee awards in

  comparable cases.

           26.      Pursuant to the Settlement, and in recognition of their efforts on behalf of the

  Settlement Class, the Court approves payments to the Class Representatives in the total amount of

  $_______ each in recognition of their efforts on behalf of the Settlement Class. Class Counsel

  shall make such payment in accordance with the terms of the Settlement Agreement.

           27.      This Order resolves all claims against all parties in this Action and constitutes final

  judgment. The Court hereby dismisses the Complaint against Defendants with prejudice. Upon

  entry of this Order, Plaintiffs, all Settlement Class Members, and the Plan shall be bound by the

  Settlement Agreement (including any amendments) and by this Final Approval Order.

           28.      Without affecting the finality of this Judgment, the Court retains jurisdiction for

  purposes of implementing the Settlement and enforcing this Final Order or the Settlement

  Agreement, and reserves the power to enter additional orders, including by way of injunction, to

  effectuate the fair and orderly administration and consummation of the Settlement, as may from

  time to time be appropriate, and resolution of any and all disputes arising thereunder.



           SO ORDERED this _______ day of _______________, 2022.




                                                           Hon. Ronnie L. White
                                                           United States District Judge

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                              Exhibit C to
                    Settlement Agreement
                    Preliminary Approval Order
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI

  LATASHA DAVIS, JENNIFER ELLIOTT,)
  and MARLA ALIECE SIMS-KING,     )
  Individually and as representatives of a
                                  )
  class of participants and beneficiaries in and
                                  )
  on behalf of the WASHINGTON     )
  UNIVERSITY RETIREMENT SAVINGS   )
  PLAN,                           )                   Case No. 4:17-cv-01641-RLW
                                  )
                   Plaintiffs,    )
                                  )
         v.                       )
                                  )
  WASHINGTON UNIVERSITY IN ST.    )
  LOUIS, WASHINGTON UNIVERSITY    )
  IN ST. LOUIS BOARD OF TRUSTEES, )
  WASHINGTON UNIVERSITY IN ST.    )
  LOUIS RETIREMENT PLAN ADVISORY )
  COMMITTEE, WASHINGTON           )
  UNIVERSITY IN ST. LOUIS PLAN    )
  ADMINISTRATION COMMITTEE, and   )
  WASHINGTON UNIVERSITY IN ST.    )
  LOUIS EXECUTIVE VICE            )
  CHANCELLOR AND CHIEF            )
  ADMINISTRATIVE OFFICER          )
                                  )
                   Defendants.    )

            [PROPOSED] ORDER GRANTING PRELIMINARILY APPROVAL
                        OF CLASS ACTION SETTLEMENT

        In this putative class action, Plaintiffs Latasha Davis, Jennifer Elliot, and Marla Aliece

 King-Sims (“Plaintiffs”) asserted claims against Defendants Washington University in St. Louis

 and its Board of Trustees, Retirement Plan Advisory Committee, Plan Administration Committee,

 and Executive Vice Chancellor and Chief Administrative Officer (“Defendants”) (collectively, the

 “Parties”), for alleged violations of the Employee Retirement Income Security Action of 1974, as

 amended U.S.C. § 1001, et. seq. (“ERISA”), with respect to the Washington University in St. Louis

 Retirement Savings Plan (“Plan”). Defendants deny the allegations and claims of Plaintiffs, and
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 deny that they are liable at all to the Settlement Class. The Parties have reached a resolution of

 this matter, as memorialized in the Class Action Settlement Agreement (“Settlement”) 1 which sets

 forth the terms and conditions for a proposed global settlement of this Action and for its dismissal

 with prejudice upon the terms and conditions set forth therein.

        Currently before the Court is Plaintiffs’ Unopposed Motion for Preliminary Approval of

 the Class Action Settlement.      Specifically, Plaintiffs have moved the Court for an order

 (i) preliminarily approving the Settlement under Federal Rule of Civil Procedure 23,

 (ii) preliminarily certifying the Settlement Class for settlement purposes only, upon finding that

 the Court will most likely be able to certify the Settlement Class after the Final Fairness Hearing,

 and (iii) directing notice as set forth herein. Defendants do not oppose this request.

        The Court is familiar with and has reviewed the record, the Settlement, Plaintiffs’ Motion

 for Preliminary Approval of Class Action Settlement, and Memorandum of Points and Authorities

 in Support Thereof, and the supporting Declarations, and has found good cause for entering the

 following Order.

 NOW THEREFORE, IT IS HEREBY ORDERED AND ADJUDGED:

                                            Jurisdiction

        The Court has jurisdiction over the subject matter of this Action and over all Parties to this

 Action, including all Settlement Class Members.

                                  Settlement Class Certification
        1.      The Court preliminarily finds, for Settlement purposes only, that the requirements
 of Federal Rules of Civil Procedure 23(a) and (b)(1) are likely to be satisfied for the Settlement
 Class, as defined in ¶ 3 below. In support of this conclusion, the Court provisionally finds as
 follows:

 1
   All capitalized terms herein, unless otherwise defined, shall have the same meaning as that
 attributed in the Class Action Settlement Agreement executed on April 15, 2022.


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                a.      The Settlement Class is ascertainable from records kept with respect to the
 Plan and from other objective criteria;
                b.      Rule 23(a)(1) is satisfied because there are over 20,000 potential Settlement
 Class Members, making joinder impracticable;
                c.      Rule 23(a)(2) is satisfied because there are one or more questions of fact
 and/or law common to the Settlement Class that can or would be resolved as to the Plan, not only
 as to individual participants, including: whether Defendants owed fiduciary duties to Plaintiffs and
 Plan participants and beneficiaries under ERISA; whether Defendants breached these duties; and
 whether the Plan suffered harm as a result of Defendants’ alleged breaches of duty;
                d.      Rule 23(a)(3) is satisfied because Plaintiffs’ claims are typical of the claims
 of the Settlement Class in that all claims arise from the same or similar alleged breaches of
 fiduciary duties under ERISA;
                e.      Rule 23(a)(4) is satisfied because Plaintiffs will fairly and adequately
 represent the Settlement Class, in that: (i) the interests of Plaintiffs and the nature of their alleged
 claims are consistent with those of the Settlement Class Members; (ii) there are no significant
 conflicts between or among Plaintiffs and the Settlement Class; and (iii) Plaintiffs are represented
 by qualified, reputable Interim Co-Lead Class Counsel who are experienced in preparing and
 prosecuting ERISA class actions of this type;
                f.      As required by Rule 23(b)(1), the prosecution of separate actions by
 individual Settlement Class Members would create a risk of: (i) inconsistent or varying
 adjudications as to individual class members that would establish incompatible standards of
 conduct for Defendants; and (ii) adjudication as to individual Settlement Class Members would,
 as a practical matter, be dispositive of the interests of other members not parties to the
 adjudications, or would substantially impair or impede those persons’ ability to protect their
 interests.
         3.     Based on the finding above, the Court PRELIMINARY CERTIFIES the
 following Settlement Class for settlement purposes pursuant to Federal Rule of Civil Procedure
 23(b)(1):



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        All persons who participated in the Plan at any time during the Settlement Class
        Period, including any Beneficiary of a deceased person who participated in the Plan
        at any time during the Settlement Class Period, and any Alternate Payee of a person
        subject to a Qualified Domestic Relations Order that was in effect before the end
        of the Settlement Class Period and who participated in the Plan at any time during
        the Settlement Class Period. Excluded from the Settlement Class are: Monica
        Allen, Donna Bequette, Lisa Braun, Robert Buer, Trey Byrne, Legail Chandler,
        Mary Corcoran, Phil Dybvig, Ronald Faulbaum, Barbara Feiner, Lorraine Goffe-
        Rush, Linda Hack, Margo Jarrell, Amy Kweskin, Ann Prenatt, Jennifer Schaefer,
        Michael Stohler, Mary Stull, Kim Walker, Henry Webber, Peter Wiedenbeck, Lisa
        Wood, and Gary Yuhas.

 The Settlement Class Period shall be defined as June 8, 2011 through March 31, 2022.

        4.      The Court finds that the Settlement Class is sufficiently well-defined and cohesive

 to warrant certification as a non-opt-out class under Fed. R. Civ. P. 23(a) and 23(b)(1). Settlement

 Class Members shall be bound by any judgment concerning the Settlement in this Action, subject

 to the Court’s final determination as to whether this Action may so proceed.

        5.      The Court hereby appoints Plaintiffs as Class Representatives to represent the

 Settlement Class. Pursuant to Rule 23(g), the Court also hereby appoints Interim Co-Lead Class

 Counsel – Berger Montague PC, Chimicles Schwartz Kriner & Donaldson-Smith LLP, and

 Schneider Wallace Cottrell Konecky Wotkyns LLP – as Class Counsel. The Court finds that

 Interim Co-Lead Class Counsel: (i) have done substantial work identifying and investigating

 Plaintiffs’ claims; (ii) have committed the necessary resources to represent the Settlement Class;

 and (iii) have knowledge of the applicable ERISA law.

                             Preliminary Approval of the Settlement

        6.      The Settlement documented in the Class Action Settlement Agreement is hereby

 PRELIMINARILY APPROVED. Specifically, the Court preliminarily finds that: (a) the

 proposed Settlement resulted from arm’s-length negotiations; (b) the Settlement Agreement was

 executed only after the Parties engaged in substantial litigation for nearly five years and after



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 Class Counsel had researched and investigated multiple legal and factual issues pertaining to

 Plaintiffs’ claims; (c) there is a genuine controversy between the Parties involving Defendants’

 compliance with the fiduciary requirements of ERISA; (d) Class Counsel has concluded that the

 Settlement is fair, reasonable, and adequate; and (e) the Settlement is sufficiently fair, reasonable,

 and adequate to warrant sending notice of the Action and the Settlement to the Settlement Class.

        7.      The Gross Settlement Amount shall be deposited into an escrow account and shall

 be managed by the Escrow Agent as detailed in the Settlement Agreement. All funds held by the

 Escrow Agent shall be deemed and considered to be in custodia legis and shall remain subject to

 the jurisdiction of the Court, until such time as such funds may be distributed pursuant to the

 Settlement Agreement.

        Establishment of a Qualified Settlement Fund & Appointment of a Settlement
                                       Administrator

        8.      A common fund is agreed to by the Parties in the Settlement Agreement and is

 hereby established and shall be known as the Davis v. Washington University ERISA Litigation

 Settlement Fund (the “Settlement Fund” or “Gross Settlement Amount”). The Settlement Fund

 shall be a “qualified settlement fund” within the meaning of Treasury Regulations § 1.468-1(a)

 promulgated under Section 468B of the Internal Revenue Code. The Settlement Fund shall be

 administered in accordance with the Settlement Agreement, the relevant terms of which the Court

 expressly adopts and incorporates as part of this Order.

        9.      The Court appoints Angeion Group LLC as the Settlement Administrator for

 providing Settlement Notice, implementing the Plan of Allocation, and otherwise assisting in

 administration of the Settlement as set forth in the Settlement Agreement.




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                            Manner and Form of Settlement Notice

        10.     The Court APPROVES the Settlement Notice substantially consisting of a form,

 attached as Exhibit E to the Class Action Settlement Agreement. The Court finds that the proposed

 form and content of the Settlement Notice, as well as the Settlement Website referenced in the

 Settlement Notice, fairly and adequately: (1) describe the terms and effect of the Settlement; (2)

 notify the Settlement Class concerning the proposed Plan of Allocation; (3) notify the Settlement

 Class that Class Counsel will seek compensation from the Settlement Fund for the Plaintiffs,

 Attorneys’ Fees and Expenses; (4) give notice to the Settlement Class Members of the time and

 place of the Final Fairness Hearing; and (5) describe how the recipients of the Settlement Notice

 may object to any relief requested and/or the approval of the Settlement.

        11.     The Parties have proposed the following manner of communicating the Settlement

 Notice to Settlement Class Members, and the Court finds that such manner is the best notice

 practicable under the circumstances and directs that by at least fifteen (15) calendar days after

 receiving the information from the Plan’s recordkeeper(s) as identified in paragraph 3.4 of the

 Settlement Agreement the Settlement Administrator shall:

                a. Establish a toll-free hotline and Settlement Website, on which the Settlement
                   Administrator will post the following documents, or links to such documents,
                   as they become available: (a) the operative Complaint; (b) the Settlement
                   Agreement and its Exhibits; (c) the Settlement Notice; (d) the Former
                   Participant Claim Form; (e) Class Counsel’s motion for Attorneys’ Fees and
                   Expenses and Plaintiffs’ Compensation; (f) any Court orders related to the
                   Settlement; (g) any amendments or revisions to these documents; and (h) any
                   other documents or information upon which the Settling Parties mutually agree
                   in writing.

                b. Cause to be sent to each Settlement Class Member identified by the Settlement
                   Administrator the Settlement Notice in the form and manner to be approved by
                   the Court, which shall be in substantially the form attached as Exhibit D to the
                   Settlement Agreement, or a form subsequently agreed upon by the Parties and
                   approved by the Court. The Settlement Notice shall be sent to the last known
                   email address or, if no known email address (or where a known email address



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                    is determined to be invalid), then within a reasonable amount of time mailed by
                    first-class mail to the last known mailing address, of each Settlement Class
                    Member provided by the Plan’s recordkeeper(s) (or its designee), unless an
                    updated address is obtained by the Settlement Administrator through its efforts
                    to verify the last known addresses provided by the Plan’s recordkeeper (or its
                    designee). The Settlement Administrator shall use commercially reasonable
                    efforts to locate any Settlement Class Member whose Settlement Notice is
                    returned and re-send such documents one additional time.

                c. The Settlement Administrator and/or Class Counsel also shall post a copy of
                   the Settlement Notice on the Settlement Website. In addition, if requested by a
                   Settlement Class Member, the Settlement Administrator shall provide by
                   electronic or other means a copy of the Settlement Notice to such Settlement
                   Class Member.

        12.     Pursuant to the Settlement Agreement, Defendants shall cooperate with the

 Settlement Administrator by providing or facilitating the provision of, in electronic format, the

 names, addresses, email addresses (to the extent available), and social security numbers or other

 unique identifiers of members of the Settlement Class. This personal information obtained

 pursuant to this Order shall be used solely for the purpose of providing notice of this Settlement

 and as required for purposes of tax withholding and reporting, and for no other purpose.

        13.     At or before the Final Fairness Hearing, Class Counsel shall file with the Court a

 proof of timely compliance with the foregoing mailing and publication requirements.

        14.     All reasonable expenses incurred in identifying and notifying Settlement Class

 Members, as well as in administering the Settlement Fund, shall be paid as set forth in the

 Settlement Agreement.

        15.     The dates provided for herein may be extended by Order of the Court, for good

 cause shown, without further notice to the Settlement Class.

                                   The Final Fairness Hearing

        16.     The Court will hold a Final Fairness Hearing on [DATE], 2022, at ___________

 a.m./p.m. in Courtroom 10 South at the United States District Court, Eastern District of Missouri,



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 111 South 10th Street, St. Louis, MO 63102 to finally determine: (i) whether the Settlement Class

 satisfies the applicable requirements for certification under Federal Rules of Civil Procedure 23(a)

 and 23(b)(1); (ii) whether the Settlement should be approved as fair, reasonable, and adequate

 and in the best interests of the Settlement Class under FED. R. CIV. P. 23; (iii) whether the

 Settlement Notice and notice methodology were performed as directed by this Court; (iv) whether

 Class Counsel’s application for an award of Attorneys’ Fees and Expenses and for compensation

 to the Plaintiffs as Class Representatives should be approved; (v) whether the Administrative

 Expenses specified in the Settlement Agreement and requested by the Parties should be approved

 for payment from the Gross Settlement Amount; and (vi) to consider any other matters that may

 properly be brought before the Court in connection with the Settlement. The Court may, in its

 discretion, conduct the Final Fairness Hearing by telephone conference or other remote means.

        17.     Class Counsel’s application for an award of Attorneys’ Fees and Expenses and for

 Plaintiffs’ Compensation to the Class Representatives will be considered separately from the

 fairness, reasonableness, and adequacy of the Settlement. Any appeal from any order relating

 solely to Class Counsel’s application for an award of Attorneys’ Fees and Expenses, and/or to

 Class Counsel’s application for Plaintiffs’ Compensation, or any reversal or modification of any

 such order, shall not operate to terminate or cancel the Settlement or to affect or delay the finality

 of a judgment approving the Settlement.

        18.     Plaintiffs’ motion in support of Class Counsel’s application for Attorneys’ Fees

 and Expenses and for Plaintiffs’ Compensation awards shall be filed at least thirty (30) days

 before the date of the Final Fairness Hearing set by the Court, or by no later than [DATE], 2022.




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        19.     Plaintiffs’ motion in support of final approval of the Settlement shall be filed at

 least thirty (30) days before the date of the Final Fairness Hearing set by the Court, or by no later

 than [DATE], 2022.

                  Objections and Appearances at the Final Fairness Hearing

        20.     An “Objector” shall mean any Settlement Class Member who may appear at the

 Final Fairness Hearing and show cause why the proposed Settlement should or should not be

 approved as fair, reasonable, and adequate, or why judgment should or should not be entered, or

 to comment on or oppose Class Counsel’s proposed award for Attorneys’ Fees and Expenses, or

 to the proposed compensation to Plaintiffs as Class Representatives. Any Objector must file with

 the Court a statement of his/her/its objection(s), specifying the reason(s), if any, for each such

 objection made, including any legal support or evidence that such Objector wishes to bring to the

 Court’s attention or introduce in support of such objection. Any objection must be signed by the

 Objector. The Objector must also mail the objection and all supporting law and evidence to

 counsel for the Parties, as stated below. The addresses for filing objections with the Court and

 service on counsel are as follows:

             Court                       Class Counsel                   Defendants’ Counsel
  Clerk of the Court             Todd Collins, Esquire              Brian T. Ortelere
  United States District Court   Berger Montague PC                 Morgan, Lewis & Bockius LLP
  Eastern District of Missouri   1818 Market Street, Suite 300      1701 Market St.
  111 South 10th Street          Philadelphia, PA 19103             Philadelphia, PA 19103
  Suite 3.300
  St. Louis, MO 63102            Steve Schwartz, Esquire            Deborah S. Davidson
                                 Chimicles Schwartz Kriner &        Matthew A. Russell
                                 Donaldson-Smith LLP                Morgan, Lewis & Bockius LLP
                                 361 West Lancaster Avenue          110 N. Wacker Drive
                                 Haverford, PA 19041                Chicago, Illinois 60606

                                 John Nestico, Esquire              Christopher A. Smith
                                 Schneider Wallace Cottrell         Husch Blackwell
                                 Konecky LLP                        The Plaza in Clayton
                                 6000 Fairview Rd.                  190 Carondelet Plaza


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                                Suite 1200                          Suite 600
                                Charlotte, NC 28211                 St. Louis, Missouri 63105


        21.     The Objector, or, if represented by counsel, his/her/its counsel, must both effect

 service of the objection on counsel listed above and file the objection with the Court at least

 twenty (20) days prior to the Fairness Hearing, or by no later than [DATE], 2022. Any Objector

 who does not timely file and serve a “Notice of Intention to Appear” in accordance with this

 paragraph shall not be permitted to appear at the Fairness Hearing, except for good cause shown.

 The Settling Parties’ counsel shall promptly furnish each other with copies of any and all

 objections that come into their possession.

        22.     Any party wishing to obtain discovery from any Objector may, but is not required

 to, serve discovery requests, including requests for documents and notice of deposition not to

 exceed two (2) hours in length, on any Objector within five (5) calendar days of receipt of the

 objection and that any responses to discovery or depositions must be completed within five (5)

 calendar days of the request being served on the Objector.

        23.     The Settling Parties may respond to any objection at least five (5) calendar days

 prior to the Fairness Hearing, or by no later than [DATE], 2022.

        24.     Any Settlement Class Member or other person who does not timely file and serve

 a written objection complying with the terms of this paragraph shall be deemed to have waived,

 and shall be foreclosed from raising, any objection to the Settlement and any untimely objection

 shall be barred.

  Fees and Expenses Incurred by the Independent Fiduciary and Settlement Administrator

        25.     The Court understands that Defendants have retained or will retain an Independent

 Fiduciary for the purpose of evaluating the Settlement to determine whether to authorize the




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 Settlement on behalf of the Plan. The Independent Fiduciary’s fees are considered part of the

 Gross Settlement Amount and will be paid as Administrative Expenses out of the Settlement

 Fund. The Court understands that the expenses incurred by the Settlement Administrator in

 administering the Settlement and allocating the Settlement Fund pursuant to the Plan of

 Allocation approved by the Court, including any payable expenses of Retirement Clearinghouse,

 shall be paid as Administrative Expenses out of the Settlement Fund.

                                   Termination of the Settlement

        26.     If the Settlement is terminated or fails to become effective in accordance with the

 Settlement Agreement, this Order shall be null and void, and the Parties shall return to their

 respective positions without any prejudice, as provided for in the Settlement Agreement.

                                      Limited Use of This Order

        27.     No part of this Order shall be construed or used as an admission, concession, or

 declaration by or against Defendants of any fault, wrongdoing, breach, or liability, nor shall the

 Order be construed or used as an admission, concession, or declaration by or against Plaintiffs or

 the Settlement Class that their claims lack merit or that the relief Plaintiffs requested in the Action

 is inappropriate, improper, or unavailable, or as a waiver by any party of any arguments, defenses,

 or claims he, she, or it may have.

                                      Reservation of Jurisdiction

        28.     The Court retains exclusive jurisdiction over the Action to consider all further

 matters arising out of or connected with the Settlement.

                                Injunction and Parallel Proceedings

        29.     Pending further order of the Court, all litigation activity and events, except those

 contemplated by this Order or in the Settlement Agreement, including the Plan of Allocation, are




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 hereby STAYED, and all hearings, deadlines, and other proceedings in the Litigation, except the

 Final Fairness Hearing and the matters set forth in this Order, are VACATED. Pending final

 determination of whether the Settlement Agreement should be approved, the Plaintiffs, each

 Settlement Class Member, and the Plan are prohibited and enjoined from directly, through

 representatives, or in any other capacity, commencing any action or proceeding in any court or

 tribunal asserting any of the Released Claims against the Released Parties, including Defendants.

                                Class Action Fairness Act Notice

        30.      The form of notice under the Class Action Fairness Act of 2005 (“CAFA”)

 submitted as Exhibit A to the Settlement Agreement complies with the requirements of CAFA

 and will, upon mailing, discharge Defendants’ obligations pursuant to CAFA.

                                     Continuance of Hearing

        31.     The Court may continue the Final Fairness Hearing in its discretion without direct

 notice to the Settlement Class, other than by notice to the Parties’ respective Counsel.



 SO ORDERED this _______ day of _______________, 2022.




                                               Hon. Ronnie L. White
                                               United States District Judge




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                              Exhibit D to
                    Settlement Agreement
                        Settlement Class Notice
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  UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF MISSOURI

   If you are currently a participant in the Washington University in St. Louis Retirement
  Savings Plan, or were a participant in the Plan at any time from June 8, 2011 to March 31,
                       2022, you are a part of a class action settlement. 1

              IMPORTANT: PLEASE READ THIS NOTICE CAREFULLY
  THIS NOTICE RELATES TO THE PENDENCY OF A CLASS ACTION LAWSUIT AND, IF
  YOU ARE A SETTLEMENT CLASS MEMBER, CONTAINS IMPORTANT INFORMATION
             ABOUT YOUR RIGHTS CONCERNING THE SETTLEMENT

                A Federal Court has authorized this Notice. You are not being sued.
                             This is not a solicitation from a lawyer.

 •   A Settlement has been reached in a class action lawsuit against Washington University in St.
     Louis (the “University”) and related defendants (collectively, “Defendants”), Davis, et. al., v.
     Washington University in St. Louis, et. al., Case No. 4:17-cv-01641-RLW (the “Action”). The
     Action was filed by Latasha Davis, Jennifer Elliot, and Marla Aliece King-Sims (“Plaintiffs”)
     on behalf of themselves, the Washington University in St. Louis Retirement Savings Plan
     (“Plan”), and the Settlement Class Members described below (collectively with Defendants,
     the “Settling Parties”). The Action involves whether Defendants complied with their fiduciary
     duties under the Employee Retirement Income Security Act of 1974 (“ERISA”) in managing
     the Plan and ensuring its fees and expenses remain reasonable. Defendants deny any
     wrongdoing, but agreed to settle this case in part to avoid the substantial costs of litigation.

 •   You are included as a Settlement Class Member if you are currently a Plan participant, or if
     you were a Plan participant at any time from June 8, 2011 through March 31, 2022 (the
     “Settlement Class Period”), or if you are a Beneficiary or Alternate Payee of a Plan participant.

 •   Defendants, through their insurance provider, have agreed to pay a total of $7,500,000 (the
     “Gross Settlement Amount”) into a settlement fund, and further agreed to certain prospective
     non-monetary terms intended to benefit the Plan and its participants. The Settlement would
     release Defendants and related parties from any claims filed against them in the Action. The
     terms and conditions of the Settlement are set forth in a Class Action Settlement Agreement
     (“Settlement Agreement”). The Settlement Agreement and other information about the Action
     and Settlement are available [hyperlink] or by contacting Class Counsel, as described below.

 •   The Court has preliminarily approved the Settlement, which provides that Settlement Class
     Members are eligible to receive a pro rata share of the Settlement Amount remaining after
     payment of notice and administrative expenses, taxes and tax expenses, attorneys’ fees and
     costs that the Court awards to Class Counsel and to Plaintiffs for representing the class (the
     “Net Settlement Amount”). The amount of each Settlement Class Member’s payment is based


 1
  All capitalized terms used in this Notice, not otherwise defined herein, shall have the meanings provided in the
 Settlement Agreement dated April 15, 2022 (the “Settlement Agreement”), which can be found at the Settlement
 Website, _________________.com.

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       on his or her average Plan account balance during the Settlement Class Period and the duration
       of participation in the Plan during the Settlement Class Period.

 •     Please read this Notice carefully. Your legal rights are affected whether you act or not.


       SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

     DO YOU NEED TO No. If the Settlement is approved by the Court and you are a Settlement
     FILE A CLAIM?      Class Member entitled to a payment under the Plan of Allocation, you
                        do not need to do anything to participate in the Settlement. All
                        Settlement Class Members will be bound by the Settlement Agreement
                        and will give up their rights to sue Defendants about the allegations and
                        topics at issue in this case.
     YOU CAN            If you wish to object to any part of this Settlement, Class Counsel’s
     OBJECT BY XX,      request for attorneys’ fees and costs, or the proposed compensation to
     2022 [To be set in Plaintiffs, you may (as discussed below) write to the Court and
     Prelim Approval    Counsel to explain why you object. Please note that if you object, the
     Order]             Court has authorized the parties to seek discovery from you, including
                        requests for documents and appearance at a deposition.
     YOU CAN            If you submit a written objection to the Settlement before the deadline
     ATTEND A           above, you may (but do not have to) ask to speak at a hearing in Court
     HEARING            about the fairness of the Settlement or related matters. You may
                        attend the hearing even if you do not file a written objection, but you
                        will not be permitted to address the Court at the hearing unless you
                        notify the Court and counsel by [_______, 2022], of your intention to
                        appear at the hearing.
     IF YOU DO          If you are a Current Participant, you will get a share of the Net
     NOTHING…           Settlement Fund to which you are entitled as a credit to your Plan
                        account, and will give up your rights to sue Defendants about the
                        allegations and topics of this case.

                            If you are a Former Participant, whose settlement payment is $25 or
                            more, you will receive such payment via a tax-deferred distribution
                            process by which the payment will be transferred to an automatic
                            rollover IRA, after which you will receive instructions for how you
                            can access and manage such account, and will give up your rights to
                            sue Defendants about the allegations and topics of this case.

                            If you are a Former Participant whose entitlement would be less than
                            $25, you will not receive any payment but will still be bound by the
                            Settlement Agreement and will give up your rights to sue Defendants
                            about the allegations and topics of this case.

                            Payments to Beneficiaries and Alternate Payees will be via check.


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                                     BASIC INFORMATION

  1. What is this notice and why should I read it?

 A court authorized this notice to let you know about a proposed settlement of a class action lawsuit
 called Davis v. Washington University in St. Louis, No. 4:17-cv-01641 (E.D. Mo.), brought on
 behalf of the Settlement Class Members, and pending in the United States District Court for the
 Eastern District of Missouri. This notice describes the Settlement. Please read this notice
 carefully. Your rights and options—and the deadlines to exercise them—are explained in this
 notice. Please understand that if you are a Settlement Class Member, your legal rights are affected
 regardless of whether you act.

 The Court has not yet decided whether to approve the Settlement. If the Court does so, and after
 any objections and appeals are resolved, the Net Settlement Amount will be allocated among
 Settlement Class Members according to a Court-approved Plan of Allocation. Information about
 your individual share of the Net Settlement Amount, if any, will not be available until several
 months after the Court grants final approval of the Settlement and any appeals are resolved.

  2. What is a class action lawsuit?

 A class action is a lawsuit in which one or more plaintiffs sue on behalf of a large group of people
 who allegedly have similar claims. After the parties reached an agreement to settle this case, the
 Court granted preliminary approval of the Settlement and determined that the case should be
 treated as a class action for settlement purposes. Among other things, this preliminary approval
 permits Settlement Class Members to voice their support for, or opposition to, the Settlement
 before the Court makes a final determination of whether to approve the Settlement. Because this
 is a class action for settlement purposes, the Court will resolve these issues for all class members.

 Plaintiffs in this Action, Latasha Davis, Jennifer Elliot, and Marla Aliece King-Sims, were
 participants in the Plan during the Class Period and are referred to as the “Plaintiffs.” The Court
 has appointed them as named representatives of the Settlement Class.

                THE CLAIMS IN THE LAWSUIT AND THE SETTLEMENT

  3. What is this Action about?

 Plaintiffs filed a complaint alleging that Defendants breached their fiduciary duties under
 ERISA—that is, certain responsibilities under federal law—by causing the Plan to incur
 unreasonable and “excessive” fees for administrative and investment services. Specifically,
 Plaintiffs alleged that Defendants caused the Plan and its participants to pay excessive fees for
 recordkeeping services and offered higher-cost “retail” investment options when lower-cost
 “institutional” options were available. A more complete description of what Plaintiffs alleged is
 in the operative Complaint, available on the Settlement Website at [___hyperlink_____].

 Defendants deny any and all wrongdoing or liability and assert that their conduct was lawful.
 Defendants maintain that, at all relevant times, they have acted prudently and solely in the best

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 interests of Plan participants, in accordance with their fiduciary duties under ERISA. Among other
 things, Defendants monitor, review, and evaluate the Plan’s investment options, their performance
 and expenses, and the Plan’s administrative fees, thus ensuring the Plan offers participants a
 reasonable, affordable, and diverse array of investment options.

  4. Why is there a Settlement?

 The Court has not decided in favor of either side in the Action. Since the Action was filed June
 2017, the Settling Parties have engaged in spirited litigation efforts, including extensive merits and
 expert discovery that included Defendants’ production of thousands of documents, both parties
 taking several depositions, and the exchange of written expert reports. Pursuant to a Court order,
 the Settling Parties engaged in a full-day mediation in late January 2022 before a nationally-
 recognized mediator and ultimately agreed to the Settlement.

 Plaintiffs and their attorneys believe the Settlement is the best option for the Settlement Class
 Members. As with any litigated case, Settlement Class Members would face an uncertain outcome
 if the Action were to continue, which could result in a range of possible recoveries, including a
 judgment greater or less than the recovery under the Settlement Agreement, or no recovery at all.
 Class Counsel also have taken into account the limited availability of insurance. Class Counsel
 thus believe this Settlement reflects a reasonable compromise in light of the range of possible
 outcomes, and that the Settlement is preferable to continued litigation and is in the best interest of
 the Settlement Class Members.

 As noted, Defendants deny any and all liability associated with Plaintiffs’ allegations. However,
 Defendants and their insurance provider have decided to settle the Action to avoid the expense,
 inconvenience, and inherent risk of continued litigation, thereby securing a full and final resolution
 of these claims as to the University and other Released Parties on the terms and conditions set forth
 in the Settlement Agreement.

                            WHO IS INCLUDED IN THE SETTLEMENT?

  5. How do I know if I am part of the Settlement?

 The Court has decided that anyone who fits the following description is part of the Settlement Class:

             All participants in the Plan at any time during the Settlement Class Period,
             including any Beneficiary of a deceased person who participated in the Plan at any
             time during the Settlement Class Period, and any Alternate Payee of a person
             subject to a Qualified Domestic Relations Order that was in effect before the end
             of the Settlement Class Period and who participated in the Plan at any time during
             the Settlement Class Period. Excluded from the Settlement Class are: Monica
             Allen, Donna Bequette, Lisa Braun, Robert Buer, Trey Byrne, Legail Chandler,
             Mary Corcoran, Phil Dybvig, Ronald Faulbaum, Barbara Feiner, Lorraine Goffe-
             Rush, Linda Hack, Margo Jarrell, Amy Kweskin, Ann Prenatt, Jennifer Schaefer,
             Michael Stohler, Mary Stull, Kim Walker, Henry Webber, Peter Wiedenbeck, Lisa
             Wood, and Gary Yuhas.

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 If you meet the definition above, then you are a member of the Settlement Class.

                                   THE SETTLEMENT BENEFITS

  6. What does the Settlement provide?

 Defendants, through their insurance carrier, has agreed to pay a total amount of $7,500,000 into
 an account at a financial institution identified by Class Counsel, which shall constitute the
 “Settlement Fund.” This Gross Settlement Amount includes amounts for expenses associated with
 administering the Settlement, taxes, tax expenses, fees incurred for an Independent Fiduciary’s
 review of the Settlement on behalf of the Plan, as well as Court-approved Attorneys’ Fees and
 Expenses and compensation to the Plaintiffs. (See Questions 9 & 10.) The net amount of the
 Settlement Fund, after payment of the aforementioned costs and expenses, will be allocated to the
 Settlement Class Members according to the approved Plan of Allocation, if and when the Court
 enters an order finally approving the Settlement. According to the proposed Plan of Allocation,
 the amount of each Settlement Class Member’s payment is based on the size of his or her average
 end-of-quarter Plan account balances during the Settlement Class Period. (See Question 7.)

 As part of the Settlement, Defendants also agreed to take certain actions in the future with respect
 to how they manage the Plan. Specifically, Defendants will: (i) continue providing annual
 fiduciary training for all RPAC members; (ii) evaluate the Plan’s investment policy statement at
 least annually; (iii) issue a “request for proposal” for Plan recordkeeping services within no more
 than three (3) years; (iv) have the Plan’s current investment consultant advise on certain specific
 attributes concerning the Plan’s investment options and fees; and (v) continue maintaining the
 privacy of Plan participants’ confidential personal information.


  7. How much will my payment be?

 The specific amount you might receive is not yet known and will be determined based on a
 proposed Plan of Allocation to be approved by the Court.

 If you qualify, you will receive a pro rata share of the Net Settlement Amount. The Plan of
 Allocation describes how the Net Settlement Amount will be distributed among Settlement Class
 Members. The full Plan of Allocation, including the details of each step in how the Settlement
 Administrator will calculate the Settlement payments, is described further in the Settlement
 Agreement, available here: [hyperlink]. In general terms, however, the Plan of Allocation
 provides that each Settlement Class Member’s share of the Net Settlement Amount will be
 calculated as follows:

             The percentage of the Net Settlement Amount to be allocated to each Settlement
             Class Member will be calculated by dividing the sum of a Settlement Class
             Member’s quarter-end account balances for quarter ended during the Settlement
             Class Period by the sum of quarter-end account balances of all of the Settlement
             Class Members for each quarter ended during the Settlement Class Period.

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 No amount will be distributed to Former Plan Participants whose pro rata share is $25.00 or less,
 because such amount is de minimis and would cost more in processing than its value. The Plan of
 Allocation accounts for these individuals by reallocating these amounts among other eligible
 Settlement Class Members. The total amount of all checks to be written by the Settlement
 Administrator plus the total amount of all credits the Plan is instructed to make to Current
 Participants may not exceed the Net Settlement Amount.

 The Settlement Administrator will perform all calculations and determine your pro rata amount.
 The Settlement Administrator will have access to all available records, so you do not need to be
 concerned if you no longer have your account statements.

                                   HOW TO GET BENEFITS

  8. How do I get a settlement payment?

 If you are a Settlement Class Member (see Question 5) and a Current Participant, your payment
 will be credited automatically into your Plan account and then invested in accordance you’re your
 investment elections then on file with the Plan recordkeeper for new contributions. If you have no
 investment election on file, you will be deemed to have directed such payment to be invested in
 the Plan’s “qualified default investment alternative,” as defined in 29 C.F.R. § 2550.404c-5.

 If you are a Settlement Class Member and a Former Participant, your payment will be made via
 a tax-deferred distribution process as described in the Settlement Agreement, by which your
 payment will be transferred into a new automatic rollover IRA and you will then receive
 instructions for how to access and manage such account. Among other options, you may elect to
 roll over your payment to another eligible account or take an immediate cash distribution (subject
 to taxes and other applicable withholdings).

 If you are a Beneficiary entitled to receive payments on behalf of a Settlement Class Member, you
 will receive your payment under the Settlement directly in the form of a check. If you are an
 Alternate Payee entitled to receive payments on behalf of a Settlement Class Member pursuant
 to a Qualified Domestic Relations Order that was in effect during the Settlement Class Period (i.e.,
 between June 8, 2011 and March 31, 2022), you also will receive your payment of the Settlement
 amount (pursuant to the terms of your QDRO) directly in the form of a check.

  9. When will I get my payment?

 It is hard to say when you may receive your pro rata share of the Net Settlement Amount. However,
 the Settlement amounts should be distributed approximately three (3) months after the Settlement
 has received final approval by the Court (and/or after any appeals have been resolved in favor of
 the Settlement). The hearing to consider the final fairness of the Settlement is scheduled for
 [_____________], 2022. Should there be an appeal, this can take one year or longer.

 All checks will expire and become void 120 days after they are issued, if they have not been cashed.


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 These payments may have certain tax consequences. You should consult your tax advisor.

 Please note: There will be no payments if the Settlement is terminated. The Settlement may be
 terminated on several grounds, described in the Settlement Agreement. In the event any of these
 conditions occur, there will be no Settlement payment made, and the litigation will resume.

                            THE LAWYERS REPRESENTING YOU

  10. Who represents the Settlement Class, including me?

 For purposes of the Settlement, the Court has appointed as Plaintiffs’ “Co-Lead Class Counsel”
 the law firms of Berger Montague, PC, Chimicles Schwartz Kriner & Donaldson-Smith LLP, and
 Schneider Wallace Cottrell Konecky LLP. “Class Counsel” includes these Co-Lead Class Counsel
 as well as the law firms of Edelson Lechtzin LLP, Carey Danis & Lowe, and the Edgar Law Firm
 LLC. If you want to be represented by your own lawyer, you may hire one at your own expense.

 In addition, the Court appointed Plaintiffs Latasha Davis, Jennifer Elliot, and Marla Aliece King-
 Sims as representatives of the Settlement Class. They are also Settlement Class Members. Subject
 to approval by the Court, Class Counsel has proposed that $5,000 may be paid to each Plaintiff as
 the Class representative, in recognition of time and effort they expended on behalf of the
 Settlement Class. The Court will determine the proper amount of any such payment to Plaintiffs.

  11. How will the lawyers be paid?

 No later than [DATE], 2022, Class Counsel will file a petition asking the Court to award Attorneys’
 Fees and Expenses (a copy will be posted on the Settlement Website, available at [hyperlink]. The
 Court will consider Class Counsel’s petition at the Final Fairness Hearing. Class Counsel will
 apply for attorneys’ fees not to exceed one-third of the Gross Settlement Amount, plus out-of-
 pocket expenses incurred in prosecuting this case. The Court will decide the amount of any
 attorneys’ fees and expenses to award to Class Counsel. Any and all attorneys’ fees and expenses
 awarded by the Court will be paid to Class Counsel from the Gross Settlement Amount.

 As noted, Class Counsel also will request that $5,000 be paid from the Gross Settlement Amount
 to each of the three Plaintiffs, in recognition of their assistance in this case.

 You have the right to object to this aspect of the Settlement even if you approve of its other aspects.

                                 YOUR RIGHTS AND OPTIONS

  12. What is the effect of the Court’s final approval of the Settlement?

 If the Court grants final approval of the Settlement, a final order and judgment dismissing the case
 will be entered in the Action. Payments under the Settlement will then be processed and
 distributed. The release by Settlement Class Members will also take effect. All members of the
 Settlement Class will release and forever discharge the University, Defendants, and each of the


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 other Released Parties from any and all of “Plaintiffs’ Released Claims,” which are defined in the
 Settlement Agreement (at ¶ 2.33) as follows:

     2.33    “Released Claims” means any and all actual or potential claims, actions, demands,
             rights, obligations, liabilities, damages, attorneys’ fees, expenses, costs, and causes of
             action, whether arising under federal, state or local law, whether by statute, contract or
             equity, whether brought in an individual or representative capacity, whether known or
             unknown, suspected or unsuspected, foreseen or unforeseen, arising from conduct by
             the Released Parties with respect to the Plan occurring during the Class Period:

             2.33.1 That were asserted in the Class Action, or that arise out of, relate to, or are based
                    on any of the allegations, acts, omissions, facts, matters, transactions, or
                    occurrences that were alleged, asserted, or set forth in any iteration of the
                    Plaintiffs’ complaints in the Class Action; or

             2.33.2 That arise out of, relate in any way to, are based on, or have any connection
                    with the Plan’s management or administration, including but not limited to:
                    (a) the selection, oversight, retention, monitoring, compensation, fees, or
                    performance of the Plan’s investment options or service providers or advisors;
                    (b) fees, costs, or expenses charged to, paid, or reimbursed by the Plan or any
                    Settlement Class Member; (c) Released Parties’ disclosures or failures to
                    disclose information regarding the Plan’s investment options or service
                    providers; (d) the investment options offered to Plan participants; (e) the
                    compensation paid by the Plan to the Plan’s service providers; (f) the selection
                    of service providers or advisors to the Plan; (g) the services provided to the Plan
                    or costs of those services; (h) the payment of compensation based on a
                    percentage of total assets; (i) the Plan’s investment structure(s); or (j) any
                    alleged breach by the Released Parties of the duty of loyalty, care, prudence,
                    diversification, or any other fiduciary duties or prohibited transactions; or

             2.33.3 That would be barred by res judicata based on entry of the Final Order; or

             2.33.4 That relate to the direction to calculate, the calculation of, and/or the method or
                    manner of allocation of the Qualified Settlement Fund to the Plan or any
                    member of the Settlement Class in accordance with the Plan of Allocation; or

             2.33.5 That relate to the approval by the Independent Fiduciary of the Settlement
                    Agreement, unless brought against the Independent Fiduciary alone.

             2.33.6 Without in any way limiting the foregoing release, and solely for the avoidance
                    of doubt, it is the intent of the parties that the Released Claims include all breach
                    of fiduciary duty and prohibited transaction claims against the University
                    relating to TIAA’s participant loan program, but it is not the intent of the parties
                    to release the claims alleged by the Plaintiffs against TIAA in Haley v. Teachers
                    Insurance and Annuity Assoc., 1:17-cv-00855-JPO (S.D.N.Y.) in connection
                    with TIAA’s loan program with respect to any ERISA retirement plan.

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 If the Settlement is approved, no Settlement Class Member will be permitted to assert any Released
 Claims in any other litigation against the University, Defendants, or any other Released Party.

  13. Can I opt out of the Settlement?

 No. If the Court approves the Settlement, you will be bound by it and will receive whatever
 benefits you are entitled to under its terms. You cannot exclude yourself from the Settlement. If
 the Court approves the Settlement, it will do so on behalf of a “mandatory” class under Federal
 Rule of Civil Procedure 23(b)(1), which does not permit class members to opt out of the Settlement
 Class. However, although you cannot opt out of the Settlement, you can notify the Court of any
 objection you might have to the Settlement, as described below (see Question 16).

  14. What happens if I do nothing at all?

 If you are a Settlement Class Member and do nothing, you still will participate in the Settlement
 of the Action as described in this Notice. And you will release any claims you may have against
 Defendants and the other Released Parties concerning the conduct Plaintiffs allege in this Action.
 You may receive a payment as described in Question 8.

  15. Can I sue Defendants for the same thing later?

 No. If the Court approves the Settlement, you will have released any right to sue the University,
 Defendants, or any Released Party for the claims being resolved by this Settlement and any and
 all other “Released Claims,” as set forth in the Settlement Agreement (and in Question 12 above).

  16. How do I tell the Court that I object to the Settlement?

 If you are a Settlement Class Member, you can object to the Settlement if you do not agree with
 any part of it. To object, you must file with the Court a written statement of your objection(s),
 specifying the reason(s) for each objection, including any legal support or evidence that you wish
 to bring to the Court’s attention. The Court will consider your views.

 Your objection must include your name, address, and phone number. Your objection must also be
 signed by you or your counsel. Be sure to also include the following case caption and notation:
 “Davis, et. al., v. Washington University in St. Louis, et. al., Case No. 4:17-cv-01641-RLW.”

 Please note that the Court’s Preliminary Approval Order of this Settlement provides that any party
 to the litigation may, but is not required to, serve discovery requests on any objector, including
 requests for documents and notice of deposition not to exceed two hours in length. Any responses
 to discovery, or any depositions, must be completed within ten (10) days of the request being
 served on the objector.

 You must mail your objection to each of the addresses listed below and file the objection with
 the Court at least twenty (20) calendar days prior to the Final Fairness Hearing. If you do


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 not timely file an objection it will be deemed to have been waived, and you will be barred
 from raising the untimely objection.

             Court                       Class Counsel                 Defendants’ Counsel
  Clerk of the Court             Todd Collins, Esquire            Brian T. Ortelere
  United States District Court   Berger Montague PC               Morgan, Lewis & Bockius LLP
  Eastern District of Missouri   1818 Market Street, Suite 300    1701 Market St.
  111 South 10th Street          Philadelphia, PA 19103           Philadelphia, PA 19103
  Suite 3.300
  St. Louis, MO 63102            Steve Schwartz, Esquire          Deborah S. Davidson
                                 Chimicles Schwartz Kriner &      Matthew A. Russell
                                 Donaldson-Smith LLP              Morgan, Lewis & Bockius LLP
                                 361 West Lancaster Avenue        110 N. Wacker Drive
                                 Haverford, PA 19041              Chicago, Illinois 60606

                                 John Nestico, Esquire            Christopher A. Smith
                                 Schneider Wallace Cottrell       Husch Blackwell
                                 Konecky LLP                      The Plaza in Clayton
                                 6000 Fairview Rd.                190 Carondelet Plaza
                                 Suite 1200                       Suite 600
                                 Charlotte, NC 28211              St. Louis, Missouri 63105

                            THE COURT’S FAIRNESS HEARING

  17. When and where will the Court decide whether to approve the Settlement?

 The Court will hold a Final Fairness Hearing to decide whether to approve the Settlement as fair,
 reasonable, and adequate. The Final Fairness Hearing has been set for [DATE], 2022, at [TIME],
 before The Honorable Ronnie L. White, at the United States District Court for the Eastern District
 of Missouri, 111 South 10th Street, St. Louis, MO 63102.

 At the hearing, the Court will hear any comments, objections, and arguments concerning the
 fairness of the proposed Settlement, including the amount requested by Class Counsel for
 Attorneys’ Fees and Expenses and the Plaintiffs’ Compensation. You may attend the Final
 Fairness Hearing and also may ask to speak. If there are objections, the Court will consider them—
 but you do not need to attend the Final Fairness Hearing to have the Court consider an objection.

 Note: The date and time of the Final Fairness Hearing are subject to change by Court Order and
 may be conducted via conference call or other remote means. You will not receive a separate
 notice, but any such changes will be posted on the Settlement Website, at [hyperlink].

  18. Do I have to come to the hearing?

 No, but you are welcome to come at your own expense. Class Counsel will answer any questions
 the Court may have. If you send an objection, you do not have to attend the Final Fairness Hearing

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 to voice your objection in person. As long as you mail your written objection on time and meet
 the other criteria outlined above, the Court will consider it. You also may pay your own lawyer to
 attend the Final Fairness Hearing, but attendance is not necessary.

  19. May I speak at the hearing?

 Yes. You must send a letter or other paper called a “Notice of Intention to Appear at the Final
 Fairness Hearing in Davis, et. al., v. Washington University in St. Louis, et. al., Case No. 4:17-cv-
 01641-RLW.” Be sure to include your name, address, telephone number, and signature. Your
 Notice of Intention to Appear must be postmarked no later than [DATE] and be sent to the Clerk
 of the Court, Class Counsel, and Defendants’ Counsel at the addresses listed above.

                               GETTING MORE INFORMATION

  20. Where can I get more information?

 This notice provides only a summary of matters relating to the Settlement. For more detailed
 information, you may wish to review the complete Settlement Agreement. That Agreement and
 various other related information can be found at the Settlement Website, [hyperlink].

 You may also obtain more information by writing to the Settlement Administrator at [address] or
 by calling toll-free at [phone number]. The Settlement Agreement and other pleadings and papers
 filed with the Court are also available during regular business hours at the office of the Clerk of
 the United States District Court located at 111 South 10th Street, Suite 3.300, St. Louis, MO 63102.

 If you would like additional information, Class Counsel may be reached at:

 Todd Collins, Berger Montague PC, 1818 Market Street, Suite 3600, Philadelphia, PA 19103,
 tcollins@bm.net, (215) 875-3000;

 Steve Schwartz, Chimicles Schwartz Kriner & Donaldson-Smith LLP, 361 West Lancaster
 Avenue, Haverford, PA 19041, steveschwartz@chimicles.com, (610) 642-8500;

 John Nestico, Schneider Wallace Cottrell Konecky Wotkyns LLP, 8501 N. Scottsdale Rd., Suite
 270, Scottsdale, AZ 85253; jnestico@schneiderwallace.com; (480) 428-0145.

    PLEASE DO NOT CONTACT THE COURT, THE JUDGE, THE UNIVERSITY, OR
       OTHER DEFENDANTS WITH QUESTIONS ABOUT THE SETTLEMENT.




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